      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 1 of 94




                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


 United States of America,                        Case No. 0:17-cr-00064-DWF-KMM

              Plaintiff,

 v.                                                     REPORT AND
                                                     RECOMMENDATION
 Edward S. Adams,

              Defendant.


David M. Genrich, David J. MacLaughlin and John E. Kokkinen, Assistant United
States Attorneys, counsel for the United States of America

Lance A. Wade, Gloria K. Maier, Joseph G. Petrosinelli and Sarah Lochner
O’Connor, Williams & Connolly LLP; Deborah A. Ellingboe and James L. Volling,
Faegre Baker Daniels LLP; counsel for Mr. Adams


I.    Introduction

      The government has charged Edward S. Adams with eight counts of mail fraud
(18 U.S.C. § 1341), six counts of wire fraud (18 U.S.C. §§ 1343), and three counts of
making and subscribing false tax returns (18 U.S.C. § 7206). Now before the Court are
three of Mr. Adams’s pretrial motions. First, Mr. Adams asks the Court to suppress
information the government obtained from his Yahoo! email accounts pursuant to a
federal search warrant. He asserts that blanket suppression of all material seized is
appropriate because, in executing the warrant, the government reviewed non-
privileged information beyond the scope of the warrant and disregarded the privileged
nature of several communications. (Mot. to Suppress, ECF No. 36; Def.’s Post-Hr’g
Mem. in Supp. of Mot. to Suppress (“Def.’s Suppression Mem.”), ECF No. 147.)
Second, because agents and prosecuting attorneys reviewed his privileged
communications, Mr. Adams asks the Court to dismiss the indictment or, in the

                                            1
       CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 2 of 94




alternative, to disqualify the prosecution team. (Mot. to Dismiss or Disqualify, ECF
No. 144.) And third, Mr. Adams asks the Court to dismiss Counts 15 through 17 of
the indictment, which charge him with tax fraud, or in the alternative, to require the
government to file a bill of particulars. (Mot. to Dismiss Tax Counts, ECF No. 140.)

       The government’s execution of the search warrant was not without flaws, and
the prosecution team’s efforts to protect Mr. Adams’s attorney-client privileged
communications at times fell short. However, the Court concludes that, although
mistakes were made that exposed the government to some privileged documents, the
remedies of complete suppression, dismissal, and disqualification are not justified in
this case. The Court also concludes that the government did not improperly review
emails and other materials that were beyond the scope of the search permitted by the
Yahoo! warrant. For the reasons that follow, the Court recommends that:
(1) Mr. Adams’s motion to suppress be denied; (2) his motion to dismiss the
indictment be denied; (3) his request for disqualification be denied; and (4) his motion
to dismiss the tax counts or for a bill of particulars be denied. However, the Court
also recommends that certain limitations be made on the government’s use of
privileged materials.

II.    Factual Background

       Resolution of Mr. Adams’s remaining pretrial motions requires a careful
consideration of three things: the charges set forth in the First Superseding
Indictment; the Yahoo! email search warrant and the application on which it was
based; and the circumstances surrounding the execution of the warrant.

       A. First Superseding Indictment

       For several years, Mr. Adams held various positions in management and on the
boards of two companies engaged in the business of creating laboratory-grown
diamonds and diamond materials. (First Superseding Indict. ¶ 3, ECF No. 70.) These
companies were called Apollo Diamond Inc. and Apollo Diamond Gemstone
Corporation. (Id. ¶¶ 3–4.)


                                           2
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 3 of 94




      In laying out the scheme to defraud, the indictment first describes an
embezzlement scheme involving the Apollo companies. Around 2003, the Apollo
companies raised several million dollars of investment funds for the operations of the
Apollo companies. (Id. ¶ 10.) Although the Apollo companies had boards of directors,
the board members allegedly placed trust in the management of the businesses and
investment fund raising to Mr. Adams. (Id. ¶¶ 11–13.) Mr. Adams created several bank
accounts for the Apollo companies, but allegedly transferred millions of dollars of
investment funds to his own personal bank accounts and the accounts of his law firm.
(Id. ¶ 14.) Generally, the government alleges that Mr. Adams was engaged in a scheme
to defraud investors in the Apollo companies by misrepresenting that the investors’
money would be used to fund those companies’ operations; instead, he
misappropriated and embezzled millions of dollars for his own use. (Id. ¶ 1.)

      Mr. Adams allegedly set up a bank account with Venture Bank in Golden
Valley, Minnesota, for a company called RL Investment Holdings LLC, to funnel the
Apollo investors’ funds to himself. (Id. ¶¶ 16–22.) Similarly, he is accused of diverting
investment funds to himself through another Venture Bank account in the name of
DL Investments LLC. (Id. ¶¶ 23–28.) He also allegedly opened accounts in the names
of the Apollo companies, but diverted portions of the investors’ funds for his own
use without the knowledge of the companies or the other board members and
without disclosing that he did so to investors. (Id. ¶¶ 29–33.) Mr. Adams allegedly
embezzled funds from the Apollo companies through another entity, ADR
Investments LLC, and its account at Venture Bank. (Id. ¶¶ 34–40.)

      Following the embezzlement-scheme allegations, the indictment describes a
“lulling scheme.” (Id. at 11; id. ¶ 42.) Around 2008, the Apollo companies were having
difficulties meeting financial obligations, problems allegedly caused or compounded
by Mr. Adams’s embezzlement. By the end of 2010, the Apollo companies had
become insolvent and “teetered on the brink of bankruptcy.” (Id. ¶ 41.) In 2011,
Mr. Adams allegedly designed and structured a new company, purportedly to acquire
the assets of the Apollo companies. (Id. ¶ 6.) When the Apollo companies were nearly


                                            3
       CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 4 of 94




insolvent, Mr. Adams allegedly convinced investors in the Apollo companies to
convert their shares of stock into shares of this new company, which Adams also
controlled, a fact he did not disclose to those investors. He allegedly did this to lull
investors into believing that their previous investments in the Apollo companies
retained value, even though they did not. (Id. ¶ 42.)

       Mr. Adams and Michael Monahan, who was Mr. Adams’s partner in the law
firm Adams Monahan LLP, first created a privately held company called Scio
Diamond Technology Corporation (“Private Scio”) and made themselves the sole
shareholders and the only members of the board of directors. (Id. ¶ 43.) They told
Apollo shareholders that the Apollo companies were in financial peril, but that Apollo
had agreed to sell both companies’ assets to Private Scio for just over $2M. (Id. ¶ 44.)
Mr. Adams and Mr. Monahan told Apollo shareholders that they could sell back all
their Apollo shares for a penny and purchase the same number of shares in Private
Scio for a penny, but they allegedly did not disclose that they had created Private Scio,
were its only shareholders, were the only members of its board of directors, or that it
did not have the funds to complete the asset purchase. (Id. ¶¶ 45–46.) Mr. Adams
allegedly required Apollo shareholders to sign covenants not to sue as a condition of
becoming shareholders in Private Scio and did so to prevent potential shareholder
litigation and to conceal his embezzlement from the Apollo companies. (Id. ¶ 47.)

       The Apollo shareholders approved the Private Scio transaction. Mr. Adams and
Mr. Monahan attempted to raise the money to fund the asset purchase of the Apollo
companies, but they were unsuccessful. (Id. ¶¶ 48–51.) To prevent litigation by
disgruntled shareholders and conceal prior embezzlement, Mr. Adams and
Mr. Monahan allegedly arranged another transaction whereby Private Scio would be
acquired by a publicly traded shell entity called Krossbow Holding Corporation.
Private Scio would then become a publicly traded company called Scio Diamond
Technology Corporation (“Public Scio”). (Id. ¶ 52.) The government alleges that
Mr. Adams also structured the formation of Public Scio for his own benefit, including




                                             4
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 5 of 94




diverting new Public Scio investors’ funds to himself and to his own law firm. (Id.
¶¶ 53–59.)

      Lastly, the government charges Mr. Adams with tax fraud for the years 2008
through 2010, asserting that he earned more income than he reported when he filed
his tax returns.1 (Id. ¶¶ 64–67.) While Mr. Adams was allegedly engaging in the scheme
to defraud outlined above, he is accused of willfully failing to disclose most of the
investor funds he diverted to himself when he filed his taxes. (Id. ¶¶ 64–65.) He
allegedly made and subscribed the following false tax returns: (1) in 2008, he reported
taxable income of $674,763, whereas his taxable income exceeded that amount; (2) in
2009, he reported taxable income of $581,795, whereas his taxable income was higher;
and (3) in 2010, he reported taxable income of $783,327, despite having a higher
taxable income. (Id., Counts 15–17.)

      B. The Yahoo! Search Warrant Application and Affidavit

      The charges in the indictment developed from a lengthy investigation that
involved, among other things, a search warrant for Mr. Adams’s Yahoo! email
accounts. On January 7, 2016, United States Postal Inspector Christie Kroells applied
for and obtained a search warrant authorizing the search and seizure of three Yahoo!
email accounts related to suspected mail- and wire-fraud crimes. (Jan. 8–9, 2018 Hr’g,
DX 10.)2 Inspector Kroells provided an affidavit in support of the search warrant,
asserting that there was probable cause to believe that Mr. Adams and Mr. Monahan

1
      The original Indictment did not include Counts 15–17. The addition of these
tax counts is the primary difference between the original Indictment and the First
Superseding Indictment.
2
      The Court refers to the exhibits admitted at the hearing held on January 8 and
9, 2018, by the abbreviations “DX” for the defense exhibits and “GX” for the
government’s exhibits. In addition, the Court notes that several of the parties’ briefs
include tables of contents, which creates a divergence between the page numbers
generated by ECF and the numbers at the bottom of each page of the brief.
Throughout this Report and Recommendation, whenever the Court cites to a
document in ECF, it refers to the page number generated by the ECF system.

                                            5
         CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 6 of 94




had committed mail and wire fraud by concealing and failing to disclose material
information to Apollo shareholders prior to seeking their approval of transactions
that personally benefited them. (DX 10 at 1; id., Kroells Aff. ¶ 4.) Inspector Kroells’s
affidavit focuses on Mr. Adams’s alleged failure to make material disclosures in
connection with the asset purchase arrangements for the Apollo companies by Private
Scio and Public Scio.

         The affidavit generally describes Mr. Adams’s and Mr. Monahan’s involvement
in the Apollo entities and the formation of Private Scio and Public Scio. (Kroells Aff.
¶¶ 6–11.) Inspector Kroells averred that in issuing proxy statements to the Apollo
shareholders regarding the Private Scio transaction, Mr. Adams did not disclose that
his law firm was in fact Apollo Diamond’s largest creditor. Nor did the proxy
statements disclose that Mr. Adams and Mr. Monahan were the founders of Private
Scio and the only members of its board of directors. (Kroells Aff. ¶ 12.) The affidavit
also states that when Apollo shareholders were told about the planned asset purchase
by Private Scio, Mr. Adams failed to disclose that Private Scio was unable to pay the
purchase prices for the Apollo companies at the time of the agreements. (Kroells Aff.
¶ 13.)

         Inspector Kroells’s affidavit alleges that Mr. Adams and Mr. Monahan made
other misrepresentations regarding the Private Scio asset purchase. For example, they
allegedly failed to disclose their roles and ownership interests in Private Scio when a
cover letter was sent to Apollo shareholders about Private Scio’s “new management”
by an individual identified as J.D.L. However, J.D.L. stated that he was not involved
in Private Scio. (Kroells Aff. ¶ 15–16.) Adams and Monahan also allegedly failed to
disclose their interests in Private Scio in connection with a private placement
memorandum sent to potential investors in May of 2011.3 (Kroells Aff. ¶ 19.)


3
       Inspector Kroells explained in the affidavit that Mr. Adams used his email to
discuss controlling Private Scio and in communicating with officers of Public Scio.
(Kroells Aff. ¶¶ 20, 29.) She also described other bases for believing that evidence of



                                            6
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 7 of 94




      Further, Inspector Kroells discussed the establishment of Public Scio through
the shell company, Krossbow Holdings Corporation. (Kroells Aff. ¶ 21.) The affidavit
asserts that funds purportedly destined for purchasing the assets of Private Scio were
distributed to Mr. Adams and his wife, Mr. Monahan and his wife, and others.
(Kroells Aff. ¶ 22.) The formation of Public Scio created significant interests in the
company for Mr. Adams and others and made Mr. Adams Chairman of the Public
Scio Board. (Kroells Aff. ¶¶ 23–24.) SEC filings for Public Scio did not disclose that
Mr. Adams and Mr. Monahan had previous roles in the Apollo companies,
Mr. Adams’s relationship to the board members of the Apollo companies, or his law
firm’s representation of the Apollo entities. (Kroells Aff. ¶ 25.) Mr. Adams also
allegedly made misrepresentations to Public Scio’s Chief Financial Officer, C.N.,
regarding his and Mr. Monahan’s previous roles in the Apollo entities. (Kroells Aff. ¶¶
29–30.)

      C. The Yahoo! Search Warrant

      Based on Inspector Kroells’s application and affidavit, United States Magistrate
Judge Steven E. Rau concluded that there was probable cause to conduct the search
of Mr. Adams’s emails.4 (DX 11.) The search warrant incorporates a statement of
“Particular Things to be Seized” in Attachment B, which authorizes the government
to seize the following:

             a.     All information [within the subject email accounts] that
      constitutes fruits, contraband, evidence and instrumentalities of
      violations of [the mail- and wire-fraud statutes], those violations
      involving Edward S. Adams and Michael R. Monahan and occurring



criminal activity would likely be found in Mr. Adams’ Yahoo! email addresses. (See
Kroells Aff. ¶¶ 33–41.)
4
      The Yahoo! email accounts for Mr. Adams were his personal email accounts.
He had a separate email account for his law firm that is not at issue here, and was
never searched by the government. The warrant authorized the seizure of material
from an email account that did not belong to Mr. Adams, but to Mr. Monahan.

                                            7
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 8 of 94




      after October 25, 2006, including for each account or identifier listed on
      Attachment A, information pertaining to the following matters:
                1. All documents, records, and communications related to
                   financial, bookkeeping, transactional and tax records
                   reporting the business and financial transactions of ADI,
                   ADGC, Private Scio, Public Scio, Focus, and ESA during
                   and for the calendar, fiscal, and federal tax years 2010 to
                   present; to include, but not limited to:
                         i. All bookkeeping ledgers, journals, reports, and
                            other bookkeeping records, and computer
                            printouts thereof, which itemize and record the
                            dates, amounts, purpose, and expense category and
                            classification of all financial transactions conducted
                            in and through the business bank accounts and
                            other financial accounts of the above business
                            entities.
                         ii. All bookkeeping ledgers, journals, reports, and
                             other bookkeeping records, and computer
                             printouts thereof, which record, identify, and
                             itemize the dates, amounts, and nature and
                             classification of all income and expenses of the
                             above business entities.
                2. All documents, records, and communications related to
                   Private Scio, Public Scio, to include all such documents,
                   records, and communications regarding the ADI/ADGC
                   proxy statement from March 2011, the asset purchase
                   agreement between ADI/ADGC and Private Scio, the
                   stock-repurchase program, and the private offering.
                3. All documents and records reflecting communications with
                   shareholders or prospective shareholders of ADI, ADGC,
                   Private Scio, and Public Scio.
(DX 11, Attach. B, Part II.)

      Inspector Kroells served the warrant on Yahoo! on January 8, 2016. (DX 1,
Nov. 30, 2017 Decl. of Christie Kroells (“Kroells Decl.”) ¶ 8, ECF No. 52-1; DX 11
at 2.) On March 7, 2016 Yahoo! provided the government with a flash drive


                                           8
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 9 of 94




containing records for the relevant email addresses, two of which belonged to
Mr. Adams, and one to Mr. Monahan. (DX 11, Return.) The flash drive contained
over 145,000 documents covering a 10-year period between October 25, 2006, and
January 7, 2016.

      D. Execution of the Yahoo! Warrant – Scope
      Mr. Adams’s motion to suppress asserts, in part, that the government reviewed
the emails obtained pursuant to the Yahoo! warrant without any regard for the
warrant’s proper scope. Because the probable cause provided in the warrant
application focused on the Apollo/Scio transactions in 2011 and 2012, Mr. Adams
maintains that information related to his earlier alleged embezzlement from Apollo
and the tax counts were off limits. With that context in mind, the following facts are
relevant to Mr. Adams’s challenge concerning the scope of the warrant.

             1. Inspector Kroells’s Initial Searches

      Shortly after the government obtained the flash drive from Yahoo!, the
government began arrangements to use a software program for document review,
Relativity, to examine and organize the Yahoo! documents. (DX 4, Zeitz Decl. ¶¶ 4–
8.) However, Inspector Kroells reviewed material directly from the flash drive for a
short time before the Relativity platform was in place. Between March 7, 2016 and
March 14 or 17, 2016, Inspector Kroells reviewed some of the information on the
flash drive on a computer in her office to verify that the flash drive contained emails
from Mr. Adams’s and Mr. Monahan’s accounts. (Tr. of Jan. 8, 2018 Hr’g (“Jan. 8
Hr’g Tr.”) 101:1–10, ECF No. 106.) She also ran some keyword searches to review
information in preparation for witness interviews. (Kroells Decl. ¶¶ 11–13; Jan. 8 Hr’g
Tr. 101:25–102:5.) Inspector Kroells spoke with Assistant United States Attorney
David Maria (“AUSA Maria”) in early March 2016 about reviewing the information
on the flash drive to find communications between Mr. Adams and employees of the
Apollo and Scio companies. (Kroells Decl. ¶ 9.)




                                           9
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 10 of 94




       When Inspector Kroells began searching through the information obtained
pursuant to the Yahoo! warrant, her “goal was to specifically find e-mails that were
relevant to the fraud scheme [described in] the search warrant.” (Jan. 8 Hr’g Tr. 80:5–
10.) Inspector Kroells “[t]ried to use search terms that would be relevant to finding
actual evidence of the fraud scheme.” (Jan. 8 Hr’g Tr. 81:9–21.) During the week
when she reviewed material directly from the flash drive, Inspector Kroells
encountered some material that did not appear relevant to the investigation and
notified AUSA Maria about this. (Kroells Decl. ¶ 13.) She acknowledged that in a
complex case like this one, the process of trying to arrive at the final number of emails
relevant to the investigation is not perfect and that investigators will necessarily review
information that is not relevant. (Jan. 8 Hr’g Tr. 84:1–7.)

       Inspector Kroells also printed some emails during this initial phase of
reviewing. In preparing for interviews with several potential witnesses, she “printed 22
emails from the flash drive and included those printouts with other materials [she] was
using to prepare for [the] witness interviews.” (Kroells Decl. ¶ 12.) Inspector Kroells
shared some of these documents with Investigator Belich on March 15, 2016.

              2. The Prosecution Team’s Keyword Searches

       After the Relativity database was created, the government engaged in an initial
filtering for privileged documents in March and April of 2016, a process explored in
detail below. Then, in early May of 2016, members of the prosecution team began
searching through materials that remained in a “For Review Folder” to continue their
investigation. On May 4, 2016, the prosecution team started running keyword
searches in the Relativity database, viewing emails and attachments that hit on those
terms, and developing the case against Mr. Adams. This examination lasted eleven
months until, on April 4, 2017, the government applied a final list of search terms to
the Relativity database “to cull [the database] down to relevant documents” so that the
documents “that hit on these search terms should remain in the database[.]” (DX 24.)




                                            10
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 11 of 94




      AUSA Maria ran 611 keyword searches between May 4, 2016 and April 4, 2017.
(DX 79.) Inspector Kroells ran 385 keyword searches between May 5, 2016 and
August 21, 2017. (DX 81.) A number of AUSA Maria’s and Inspector Kroells’s
searches were run using the same keywords. (DXs 79, 81.) FBI Special Agent Jennifer
Khan ran 147 searches between May 5, 2016 and October 31, 2016. (DX 83.) Internal
Revenue Service Agent Brandon Belich ran 5 searches on July 13, 2016. (DX 85.)5

      Particular keyword searches run by Inspector Kroells and AUSA Maria during
this time period track allegations that Mr. Adams used secret accounts to divert
investor funds from the Apollo companies to himself and that he represented to an
Apollo employee that the ADR Investments account would be funded by the sale of
“warrants” owned by Apollo. For example, Inspector Kroells ran the following
searches:

            •   “sandy” AND “ward” AND “secret”;6
            •   “sandy” AND “ward” AND “apollo” AND “bank” AND “account”;
            •   “sale” AND “warrants”;
            •   “sale” AND “warrants” AND “jill”;
            •   “jill” AND “zipkin” AND “ed”;
            •   “dl investment”;
            •   “rl investment”;
            •   “ed” AND “sell” AND “shares” AND “warrants” AND “apollo”;
            •   “ADR”;
            •   “RL”; and
5
       It appears that the government ran fewer unique searches than these numbers
suggest. Where the logs show repeated lists of the same search terms in close
succession, a person using the Relativity database is returning to a search and then
picking a new document that is responsive to the same search term rather than
clicking directly through a list of documents. (Tr. of Jan. 9, 2018 Hr’g (“Jan. 9 Hr’g
Tr.”) at 162:15–164:17, ECF No. 87.)
6
      Inspector Kroells testified that “Sandy Ward was an assistant of Mr. Adams”
who “had some communications with Mr. Adams about some secret bank accounts
that were of particular interest in the fraud scheme.” (Jan. 8 Hr’g Tr. 119:20–25.)



                                          11
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 12 of 94




          • “sell” AND “warrants” AND “apollo.”
(DX 81 at 1–3, 6, 10; Def.’s Suppression Mem. at 15.)7 As early as May 4, 2016,
AUSA Maria searched for similar terms, including: “zipkin”; “warrant”; “jail”;
“authorized the sale of warrants”; “sold warrants”; “rl investments”; “dl investments”;
“adr investments”; “adr”; “indicted”; “accused”; “fraud”; “rl & investment”; “rbe”;
and “moron.” (DX 79 at 1.) And FBI Agent Khan ran searches for “ward” or
“secret,” which was related to her understanding that Mr. Adams used secret bank
accounts in connection with his alleged embezzlement from the Apollo companies.
(DX 83 at 1–2 (indicating searches for “‘ward’ OR ‘secret’” and “secret”); Tr. of Jan.
9, 2018 Hr’g (“Jan. 9 Hr’g Tr.”) at 29: 12–30:7, ECF No. 87.)

      Other searches related to the investigation into Mr. Adams’s personal taxes and
tax-related communications. For example, on September 6 and 7, 2016, AUSA Maria
ran searches for “murryllc.” (DX 79 at 7 (entries 295–99).) Murry LLC is an
accounting firm that the prosecution team learned was working for Mr. Adams. He
also ran searches for “murry” and “murryllc” on December 6, 2016. (DX 79 at 17
(entries 573–76).) On April 27, 2017, Inspector Kroells ran searches for “murry,”
which she acknowledged was based on her understanding that Murry LLC was acting
as an accountant for Mr. Adams. (DX 81 at 10; Jan. 8 Hr’g Tr. at 217:10–13.)
Inspector Kroells indicated those searches were related to tax issues and thought she


7
       Jill Zipkin, referred to as J.Z. in the indictment, “is an individual employed in
the financial services industry who assisted Apollo in its fundraising efforts. [She] was
responsible for raising millions of dollars of investment money for Apollo.” (First
Superseding Indictment ¶ 9.) The indictment alleges that because of Mr. Adams’s
misrepresentations to Ms. Zipkin, she “unknowingly conveyed false and misleading
information to investors and potential investors in Apollo.” (Id.) In particular, the
indictment asserts that through Ms. Zipkin, Mr. Adams misrepresented to investors
that their funds made payable to RL Investment Holdings, DL nvestments, and
ADR Investments would be used to fund Apollo’s operations, but he diverted those
investment funds to himself. (See id. ¶¶ 17–22, 24–28, 35–40.) The fundraising efforts
through ADR Investments involved the sale of “warrants.” (Id. ¶ 35.)



                                           12
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 13 of 94




might have run them to duplicate specific messages that the government had received
from another source. (See Jan. 8 Hr’g Tr. 201:15–18, 217:17–25, 222:11–223:8.)

       IRS Agent Belich also reviewed information from the Relativity database in
connection with the government’s investigation. Agent Belich was originally brought
into the investigation in 2014 to investigate tax-related matters under Title 26 of the
U.S. Code as well as Title 18, including money laundering. (Jan. 8 Hr’g Tr. at 268:4–
11, 282:13–25.) Agent Belich did not recall receiving specific instructions for how to
conduct any searches within the database. (Jan. 8 Hr’g Tr. at 287:6–13, 288:20–22.) He
had difficulty connecting to the Relativity database directly due to connection issues in
his office in Duluth, MN, and ultimately ran no more than 5 searches on a single day.8
(Jan. 8 Hr’g Tr. at 271:23–272:4; DX 85.) However, as explored below, AUSA Maria
and Inspector Kroells provided Agent Belich with tax-related documents from the
database, including communications between Murry LLC and Mr. Adams. (See Jan. 8
Hr’g Tr. at 278:13–15, 289:13–21, 304:3–305:5.) In the fall of 2016 through early
2017, Inspector Belich was involved in developing the tax investigation and eventually
obtained permission to present the results of that investigation to the grand jury. (Jan.
8 Hr’g Tr. 280:16–19, 302:14–303:10.)

       During its review of the Relativity database, the government ran several
searches including profane or colorful language. AUSA Maria ran searches for terms
like: “idiot”; “crap”; “jackass”; “bribe”; “lie”; “shenanigans”; and “traitor.” (DX 79.)
Inspector Kroells ran searches like: “crap”; “‘maddox’ AND ‘monahan’ AND ‘shit’”;
and “‘maddox’ AND ‘fuck.’”9 (DX 81 at 2, 5, 7.) Inspector Kroells explained that she
searched for these kinds of terms because “[i]n [her] experience when fraud schemes
are going downhill, things are starting to unravel, people will start getting cryptic in

8
       Agent Belich searched for the term “rothman” five times in on July 13, 2016.
(DX 85.) Rothman was the last name of two investors. (Jan. 9 Hr’g Tr. at 272:17–
273:2.)
9
      Mr. Maddox was an attorney who worked at Mr. Adams’s law firm and was
involved in the Apollo and Scio transactions. (Jan. 8 Hr’g Tr. 122: 9–14.)

                                            13
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 14 of 94




their e-mails, but they also start using foul language or getting upset, and those were
the e-mails that [she] was looking for relevant to this scheme.” (Jan. 8 Hr’g
Tr. 121:18–122:14.)

       Another matter placed into issue here is AUSA Maria’s search, on June 27,
2016, for his own name. (DX 79 at 7 (entry 239).) AUSA Maria had worked at Latham
& Watkins prior to his employment in the United States Attorney’s Office. On May
13 and 16, 2016, Mr. Hopeman sent a letter to the U.S. Attorney asserting that
AUSA Maria’s prior employment by the Latham firm created a conflict of interest.
(Gov’t’s Exs. 2 & 3, ECF Nos. 173-2, 173-3.) AUSA Maria advised James Kopecky,
one of the lawyers representing Mr. Adams in connection with the SEC investigation
in January of 2016, that he had previously worked for Latham in the Washington,
D.C. office. (Gov’t’s Ex. 4 at 3, ECF No. 173-4.) AUSA Maria indicated that he had
no recollection of doing any work for Mr. Adams’s companies that had been
represented by Latham and that he “did not acquire any information whatsoever from
or regarding th[o]se entities, let alone privileged or confidential information.” (Gov’t’s
Ex. 4 at 3.)

               3. Final Relevance Culling and the “Seizure”

       Ultimately, on April 4, 2017, the government applied its final list of search
terms to the database to purportedly “seize” documents relevant to its investigation
and segregate the material that was not relevant. (DX 24.) The final list of search
terms were: “Apollo, Diamond, ADI, ADGC, Gemstone, DL, RL, ADR, RBE, ESA
MRM, Scio, SDTC, Krossbow, Linares, Lancia, Zipkin, Nichols, LisaL, LMAInc,
Mack, Rapello, Platt, Robb, Larson, McMahon, Bern, McPheely.” (DX 24; Maria
Decl. ¶ 13.) When the government applied these search terms to the database, they hit
on 42,927 documents. (GX Zeitz 3.) “Any document that failed to contain at least one
of these terms was removed from the For Review Folder.” (Maria Decl. ¶ 14.)

       The prosecution team has viewed a total of 7,092 documents within the
Relativity database. (Decl. of Gloria Maier (“Maier Decl.”) ¶ 3, ECF No. 148.) Of that


                                            14
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 15 of 94




number, 5,485 of those documents were included in the final “For Review Folder.”
(Maier Decl. ¶ 3.) Over 1,600 of these emails came from Mr. Monahan’s email
address, and are not relevant today. (See Maier Decl. ¶ 3.) There are 3,350 documents
that the government has viewed and that were obtained from Mr. Adams’s email
accounts for which he does not claim privilege. (Maier Decl. ¶ 3.)

      Mr. Adams indicates that several of the 3,350 documents are either unrelated to
this case altogether or are “outside the scope of the warrant.” (See Suppl. Decl. of
Gloria Maier (“Suppl. Maier Decl.”) ¶¶ 3–10, ECF No. 150.) By his count, 115 of
these documents are related to personal matters. (Suppl. Maier Decl. ¶ 3.) Another
635 documents concern business interests that are not related to Apollo or Scio.
(Suppl. Maier Decl. ¶ 4.) Over 550 documents “relate to Apollo or Scio matters”
which Mr. Adams asserts are “entirely unrelated to the issues described in either the
superseding indictment or the warrant application.” (Suppl. Maier Decl. ¶ 5.) Still
other documents are allegedly beyond the scope of the warrant because they relate to
the sale of Apollo warrants, allegedly secret bank accounts, or Mr. Adams’s personal
tax returns. (Suppl. Maier Decl. ¶¶ 6–8.)

      E. Execution of the Yahoo! Warrant – Privilege
      Central to both Mr. Adams’s motion to suppress and his motion to dismiss are
his claims that the government deliberately intruded on confidential communications
he had with several attorneys about matters that are related to the charges in the
indictment. The Court provides a detailed discussion of the relevant factual record
concerning these privilege issues.

             1. Inspector Kroells’ Initial Review
      As noted above, Inspector Kroells reviewed material directly from the flash
drive provided by Yahoo! for a short period before the Relativity database was
created. According to Inspector Kroells, AUSA Maria authorized her to search for
communications between Mr. Adams and Apollo and Scio employees, in part,
because “the company would be waiving the [attorney-client] privilege” that might


                                            15
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 16 of 94




have otherwise been applicable to some of the communications Mr. Adams had with
Apollo and Scio personnel in his capacity as an attorney. (Kroells Decl. ¶ 9.) Indeed,
in February or March of 2016, Scio’s counsel informed AUSA Maria that the
company “did not intend to assert any attorney-client privilege or related attorney
work product protection with respect to the period when Edward Adams or his law
firm may have provided legal advice to Apollo Diamond, Inc., or Apollo Diamond
Gemstone Corporation.” (Decl. of David Young (“Young Decl.”) ¶ 5, ECF No. 109-
7.)

       Though Inspector Kroells does not specifically recall seeing any attorney-client
privileged information during her initial review, she thought it was “likely” that she
did. (Jan. 8 Hr’g Tr. 103:23–25.) She states that if she had come across potentially
privileged information she would have followed her standard practice, which was to
stop reviewing the document, memorialize its location, contact the AUSA assigned to
the case to advise them of this concern, and continue reviewing other emails. (Kroells
Decl. ¶ 12; see Jan. 8 Hr’g Tr. 66:18–67:4, 68:16–25, 69:1–14, 104:1–4.)

              2. Mechanical Privilege Filtering
       AUSA Maria asked the U.S. Attorney’s Office’s litigation support staff to use a
“mechanical filtering” process to segregate potentially privileged documents from
those documents that could later be reviewed. This process involved applying
keywords at the outset to the entire database to excise potentially privileged
communications that hit on those keywords from the reviewable information that did
not. (Maria Decl. ¶ 5.) AUSA Maria generated two initial lists of search terms around
April 14, 2016. (DX 14.) The litigation support staff ran both lists of search terms
against the entire database to filter out potentially privileged information. The first, a
list of general search terms like “privilege,” “work product,” “lawyer,” and “attorney,”
resulted in a “disproportionately large number of hits,” which was attributed to
standard language and disclaimers in many of the emails within the database, so
AUSA Maria decided a more tailored approach was necessary. (Maria Decl. ¶¶ 6–7.)



                                            16
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 17 of 94




      The second list included keywords related to specific lawyers and law firms that
the investigators and prosecutors working on this case believed had some connection
with Mr. Adams during the time he was associated with the Apollo and Scio
companies. (Maria Decl. ¶ 5.) The filtering process with this second list alone resulted
in more than 32,000 documents being segregated into secure folders identified as the
“Taint” and “Not for Review” folders. (Maria Decl. ¶ 8.) No member of the
prosecution team ever reviewed the information in these “Taint” or “Not for Review”
folders generated from the mechanical filtering. (Maria Decl. ¶ 8.) The other
remaining materials were placed into a Relativity database that could be reviewed by
members of the prosecution team. This initial round of filtering took place in early
May of 2016. (Jan. 8 Hr’g Tr. 71:8–72:14; Zeitz Decl. ¶¶ 15–17.)

      When the Relativity database was created, the government did not employ a so-
called “taint team” to further review the information obtained that was considered
acceptable for examination, nor to review the materials segregated as potentially
privileged. (Maria Decl. ¶ 8.) “Initially, the government considered using a taint team
to review the contents of the secure Taint Folder . . . but, ultimately, the government
determined that it would not undertake this task.” (Maria Decl. ¶ 8.) Instead, the
prosecution team reviewed only the documents that remained accessible in the
Relativity database. “On May 4, 2016, before any member of the prosecution team
accessed the For Review Folder, [AUSA Maria] instructed all members of the
prosecution team that, if they encountered any documents that appeared to have the
names of lawyers or law firms that had not been on [the] initial list of search terms,
they should cease reviewing the document and contact [AUSA Maria].” (Maria Decl.
¶ 9.) This process resulted in members of the prosecution team being exposed,
sometimes repeatedly, to certain privileged communications.

      As the government went through the Relativity database, additional efforts
were made to segregate potentially privileged information from the for-review
environment. A second round of mechanical filtering occurred in early June of 2016,
further excluding materials that contained additional attorney-related keywords. (Jan. 8


                                           17
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 18 of 94




Hr’g Tr. 73:23–74:1; Zeitz Decl. ¶¶ 18–21.) This process excluded approximately
1,000 more documents. (Zeitz Decl. ¶ 20.)

              3. Length of Views

       The parties’ briefing presents a fact dispute concerning how long the
investigators had access to or “viewed” the allegedly privileged communications they
encountered in the Relativity database, and the Court resolves that disagreement
here.10 The government takes the position that its agents viewed several privileged
communications only very briefly. Mr. Adams asserts that the record does not support
such a conclusion.

       The Relativity logs before the Court show a timestamp indicating when an item
within the Relativity database was initially “viewed” by a person and then another
timestamp indicating when that person took action to “view” another document.
According to the government, these logs establish that reviewers spent only the length
of time between these “views” looking at a particular document on each occasion that
a view appears. (See, e.g., Gov’t’s Ex. 13, ECF No. 173-11.)

       Relying on the Supplemental Declaration of Mark H. Lyon, Mr. Adams
disputes that the Relativity logs, in fact, prove that the investigators had only fleeting
access to the documents at issue. (Def. Reply in Supp. of Suppression Mot. at 8–9,
ECF No. 197; Suppl. Decl. of Mark Lyon (“Suppl. Lyon Decl.”), ECF No. 200.)
According to Mr. Lyon, the Relativity logs do not necessarily demonstrate how long a
reviewer spent with a document because the program has different viewing modes
that would allow a document to be opened and set aside in some way to be viewed
indefinitely. (Suppl. Lyon Decl. ¶¶ 3–5.) Documents could be downloaded in “native”
form, allowing the document to be viewed indefinitely in the native application, which


10
       The question of how long the investigators and attorneys reviewed privileged
information is relevant to both the alleged egregiousness of the government’s conduct
and to whether Mr. Adams suffered any prejudice. The Court analyzes these legal
issues below, but makes the relevant proposed findings of fact here.

                                            18
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 19 of 94




would not be recorded in a Relativity log. (Id. ¶ 5.) Documents could also be opened
in a “standalone” viewer which would place the document in a separate browser
window where the user’s review of the document would not be recorded in the
primary Relativity window. (Id.) Or a user could right-click on a link and open that
document in a new tab or window in an internet browser, permitting the document to
remain open in that tab or window until it is later closed. (Id. ¶ 6.) For these reasons,
Mr. Lyon indicates that “trying to calculate the amount of time a user spent viewing
the document based on the time between one action and the next in the [Relativity
logs] would be futile.” (Id. ¶ 7.) Mr. Adams also notes that Mark Zeitz, the
Supervisory IT Specialist for the U.S. Attorney’s Office in the District of Minnesota,
testified that a Relativity log would not be able to show how long a user spent within a
particular document. (See Jan. 9 Hr’g Tr. 157:8–10.)

       Based on Mr. Lyon’s supplemental declaration and the testimony of Mr. Zeitz,
the Court cannot determine that the record conclusively establishes that any particular
view lasted a specific duration. However, Court finds that it is more likely than not
that the length of the Relativity user’s exposure to the in camera documents is
demonstrated by the duration between document views shown in the Relativity logs.11
A careful examination of the Relativity logs as a whole suggests that AUSA Maria and
Inspector Kroells were not opening the privileged documents in the ways that
Mr. Lyon indicates Relativity would fail to record. For example, when looking at the
Relativity log for In Camera Exhibit J (discussed below), there are short durations
between several of the “view” entries linked to Inspector Kroells of the privileged
material. (Gov’t’s Ex. 19 (“Relativity Log for In Camera Ex. J”), ECF No. 173-17.) On
May 11 there is an entry for a view of one Document ID number associated with the
privileged content at 3:57:16 PM EDT, a second for the same ID number at 3:57:22
PM EDT, and a third view at 3:57:51 PM EDT. (Relativity Log for In Camera Ex. J at
4 (entries for Doc ID 00219515).) The Court finds it very unlikely that Inspector

11
      The Court reaches findings of fact in connection with a suppression hearing
based on a preponderance of the evidence. See United States v. Beechum, 582 F.2d 898,
913 n.16 (5th Cir. 1978) (citing Lego v. Twomey, 404 U.S. 477, 489 (1972)).

                                            19
        CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 20 of 94




Kroells would have any need to access this document three separate times in a short
span if she had engaged in one of the actions described by Mr. Lyon that would have
provided her indefinite access to the privileged document, such as opening the
document in another tab or window. Other view entries for the remaining in camera
documents similarly suggest that the user was quickly clicking between documents and
moving on to other entries in the Relativity database in a comparably short span.12

              4. The Hopeman Memorandum

        Perhaps most concerning among the privileged documents that were seen by
members of the prosecution team is a memorandum that Mr. Adams prepared in
September of 2014 for Jon Hopeman, a well-known criminal defense attorney with
the Minneapolis law firm of Felhaber Larson. (In Camera Ex. J, ECF No. 145.) This
memo contains information that could reveal aspects of the defense strategy in this
case.

        Shortly before the government received the flash drive from Yahoo!, in early
mid-February or early March of 2016, prosecutors working on this case were
contacted by Mr. Hopeman on Mr. Adams’s behalf, and the two sides attempted to
arrange a meeting. (See DX 48 (Mar. 3, 2016 email from J. Kokkinen to J. Hopeman
arranging a meeting concerning Mr. Adams’s case).) However, when the USAO
litigation support staff were first asked to engage in mechanical filtering, no keywords
were used to segregate communications with Mr. Hopeman from the for-review
environment. (See Maria Decl. ¶ 6.) Although the U.S. Attorney’s Office had been
contacted by Mr. Hopeman on behalf of Mr. Adams in early March of 2016, the
record indicates that members of the prosecution team did not realize that


12
       In reaching this conclusion, the Court notes that the members of the
prosecution team were in fact unaware that their work within the database was being
so precisely tracked. The record does not support an inference that agents would have
used one of the pathways described by Mr. Lyon—processes that necessarily took
longer than simply moving onto the next view—to hide their improper review of
privileged documents. (See, e.g., Jan. 8 Hr’g Tr. 120:10–19.)

                                           20
         CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 21 of 94




Mr. Hopeman had represented Mr. Adams prior to the January 7, 2016 cut off for the
information obtained pursuant to the Yahoo! search warrant. (Suppl. Maria Decl.
¶ 15.) They were unaware that any attorney-client relationship had been formed
months or years before that initial contact.

         The Relativity database log shows that on May 5, 2018, when he began
reviewing the material in the database, AUSA Maria encountered the September 2014
memo from Adams to Hopeman.13 (Relativity Log for In Camera Ex. J at 2.) The
Relativity log indicates that AUSA Maria spent about 40 seconds with the memo and
“update[d]” the document to indicate its privileged status before he clicked on
another document. (Relativity Log for In Camera Ex. J at 2.) However, despite AUSA
Maria’s efforts to designate the document as privileged, it was not removed from the
for-review Relativity database.

         Inspector Kroells then encountered the memo four times on May 11, 2016,
about a week after AUSA Maria viewed the memo. (Relativity Log for In Camera Ex. J
at 3, 4.) Each time she encountered it, she clicked to view another document in the
database quickly. Her first encounter lasted 18 seconds before her next click and the
next 3 “views” lasted 3 seconds each. (Id.) She also saw the email to which Mr. Adams
attached the memo on May 11, 2016, and that “view” lasted a total of 26 seconds. (Id.
at 4.)

         On May 16, 2016, in an email exchange both Inspector Kroells and AUSA
Maria indicated that they had come across email addresses that appeared to contain
privileged communications, including for Mr. Hopeman’s firm. (DX 21.) Several
weeks later, on June 6, 2016, the prosecution team updated the list of keywords to be
used to quarantine additional potentially privileged materials, including “felhaber (and
felhaber.com),” and “hopeman.” (Maria Decl. ¶ 10; DX 22.) No members of the
prosecution team encountered the memo to Mr. Hopeman or the email to which it


13
      There is no indication that AUSA Maria ever viewed the email from
Mr. Adams to Mr. Hopeman to which the memo was attached.

                                           21
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 22 of 94




was attached in the Relativity database between May 11, 2016 and June 6, 2016. There
is no indication that it has been viewed by the government aside from these
encounters.

              5. Drafts of Communications with Latham & Watkins

      Members of the prosecution team also encountered drafts of privileged
communications between Mr. Adams and certain attorneys at the law firm of Latham
& Watkins LLP (“Latham”). (In Camera Exs. A, D, and G.) Prior to the criminal
investigation, Mr. Adams had been the subject of an investigation by the Securities
and Exchange Commission. Generally, the SEC was investigating suspected violations
of federal securities laws in connection with the asset purchase agreements involving
the Apollo and Scio companies. During the SEC’s investigation, Mr. Adams was
represented by attorneys James Farrell and John Sikora of Latham and attorney James
Kopecky of Kopecky Schumacher Bleakley & Rosenburg, PC. (DX 43, Decl. of
Lance Wade in Supp. of Mot. to Suppress (“Wade Decl.”) ¶ 6, ECF No. 38.) Because
members of the prosecution team were aware of the SEC’s investigation and that
Mr. Adams had been represented during those proceedings, the initial round of
mechanical filtering keywords described by AUSA Maria reflects an effort to remove
communications with these attorneys from the for-review environment in Relativity.
(Jan. 8 Hr’g Tr. 71:19–72:2; Suppl. Decl. of David Maria (“Suppl. Maria Decl.”) ¶ 14,
ECF No. 79.) The list of specific terms that was ultimately used to segregate these
potentially privileged communications includes terms like “Kopecky,” “ksblegal,”
“latham,” “watkins,” “lw.com,” and “Sikora.” (Maria Decl. ¶ 6.) Despite those efforts
at removing such communications from the reviewable material, certain draft
communications were not captured by the mechanical filtering and remained available
for the prosecution team’s review.

      One such document is a 4-page draft of a memorandum that Mr. Adams
eventually emailed to his attorneys at Latham. The version encountered by the
prosecution team in their review of the Relativity database was attached to an email



                                          22
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 23 of 94




Mr. Adams sent to himself.14 (In Camera Ex. A.) AUSA Maria encountered the email
once and clicked on the attached memo seven times on May 4, 2016. (Gov’t’s Ex. 13
(“Relativity Log for In Camera Ex. A”), ECF No. 173-11.) AUSA Maria accessed
Mr. Adams’s email to himself for 31 seconds. (Relativity Log for In Camera Ex. A at
2.) Each time he “viewed” the memo, the Relativity log shows the following durations
before his next “view” of a document in the program: (1) 1:33; (2) 1:54; (3) 9 seconds;
(4) 7 seconds; (5) 4 seconds; (6) 1 second; and (7) 4 seconds. (Relativity Log for In
Camera Ex. A at 2, 4, 13.) On June 6, 2016, he encountered the memo again for a total
of 5 seconds before clicking another, and on August 30, 2016, he “viewed” it again
for 11 seconds. (Relativity Log for In Camera Ex. A at 13.) AUSA Maria “viewed” the
memo again on September 16, 2016 for 7 seconds and, finally, on September 23, 2016
for 30 seconds before the log shows his next “view.” (Relativity Log for In Camera
Ex. A at 14, 15.) However, AUSA Maria never reviewed the emails with which
Mr. Adams ultimately sent the memo to his attorneys.15


14
       Although the email is sent by Mr. Adams and to Mr. Adams rather than to any
lawyer at Latham, the memo has a header that reads: “ATTORNEY-CLIENT
PRIVILEGE/ATTORNEY WORK PRODUCT.” (In Camera Ex. A.) The
government has shown that when looking at a spreadsheet created in Microsoft Excel
within a certain viewing mode in the Relativity program, a viewer may not necessarily
see a privilege banner if it is included in a header in an Excel spreadsheet. (See Gov’t’s
Ex. 25, ECF No. 173-22.) The attachment to In Camera Exhibit A is in Microsoft
Word format, and because the government does not have access to this exhibit, it
invited the Court to review the document in the Relativity platform. However, doing
so is unnecessary. Mr. Adams has provided screenshots showing that the privilege
banner atop In Camera Exhibit A (and the other in camera exhibits), is visible in all
Relativity viewing modes. (Index of Exs. to Def.’s Post-Hearing Reply in Supp. of
Mot. to Suppress, Ex. 23, ECF No. 199.) Based on this record, the Court finds that it
is more likely than not that the privilege headers in the in camera documents were
visible in the Relativity program when Inspector Kroells and AUSA Maria reviewed
the documents.
15
        No member of the prosecution team viewed In Camera Exhibits B or C, which
are later versions of the draft memo in In Camera Exhibit A. Mr. Adams emailed In



                                            23
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 24 of 94




      Another privileged document encountered by the prosecution team during its
review of the Relativity database consists of several draft iterations of an email that
Mr. Adams eventually sent to his attorneys John Sikora and James Kopecky. (In
Camera Ex. D (draft iterations); In Camera Ex. E16 (final email).) This document, In
Camera Exhibit D, includes 12 separate iterations of the same draft email. Each
iteration bears only Mr. Adams’s name in the “From” field, but no name of any
intended recipient. (In Camera Ex. D.) AUSA Maria viewed these drafts multiple times
on September 6, 2016 as he was working through the Relativity database, with each
“view” lasting a few seconds before the Relativity log shows he clicked on another
document. The durations between these clicks are as follows: 15 seconds; 2 seconds;
11 seconds; 3 seconds; 2 seconds; 4 seconds; 2 seconds; 2 seconds; 6 seconds;
1 second; and 1 second. (Gov’t’s Ex. 14 (“Relativity Log for In Camera Ex. D”), ECF
No. 173-12.)

      In Camera Exhibit G is similarly a version of an email and an attached
spreadsheet that Mr. Adams sent to his attorneys at Latham and Mr. Hopeman in
October of 2014. The October 2014 version was not viewed by the government
because it was filtered out of the Relativity database. (See In Camera Ex. H.) However,
the draft that was seen by the government along with the attached spreadsheet were
sent by Mr. Adams to himself several months later (September of 2015) without
including the names or email addresses of any of his attorneys.17 (In Camera Ex. G.) As
a result, the email was not filtered by the government’s attempts to separate

Camera Exhibits B and C to his attorneys at Latham, which likely explains why those
messages were removed from the reviewable Relativity database while the draft memo
for In Camera Exhibit A was not. (Def.’s Index of In Camera Documents at 1, ECF
No. 145.)
16
       No member of the prosecution team ever viewed In Camera Exhibit E, which is
the final version of the email that includes the names of Mr. Adams’s lawyers in the
SEC proceeding. (Def.’s Index of In Camera Documents at 2.)
17
      Mr. Adams later sent this same message to lawyers at Latham and Mr. Kopecky
(In Camera Ex. I), and the government did not see this correspondence.

                                            24
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 25 of 94




potentially privileged information. Neither Mr. Adams’s message to himself nor the
spreadsheet includes an attorney-client privilege legend. Inspector Kroells “viewed”
Mr. Adams’s email for 3 seconds before clicking on the attached document in the
Relativity program, and she printed the message from Relativity twice. (Gov’t’s Ex. 15
(“Relativity Log for In Camera Ex. G”) at 2, ECF No. 173-13.) That same day, she
“viewed” the spreadsheet for 19 seconds before her next click, and then later on two
more occasions for 2:08, and 11 seconds, respectively. (Relativity Log for In Camera
Ex. G at 2.)

               6. Communications with Tom Brever and Murry LLC

       Members of the prosecution team also viewed communications between
Mr. Adams and Tom Brever, who Mr. Adams retained in September 2014 for tax-
related issues. (Decl. of Thomas Brever (“Brever Decl.”) ¶ 2, ECF No. 93 (public
version), and 97 (sealed version).) Prosecution team members also had access to
several communications between Mr. Adams and accountants at Murry & Associates
LLC as a result of the Yahoo! search warrant. Murry LLC had been retained by
Mr. Brever under a so-called Kovel agreement.18 (In Camera Exs. K, L, M, N, O, P, Q,19



18
       Pursuant to United States v. Kovel, 296 F.2d 918 (2d Cir. 1961), the attorney-client
privilege may apply to an individual’s communications with an accountant if the
communications are “made in confidence for the purpose of obtaining legal advice
from the lawyer.” Id. at 922. The Court has previously addressed the applicability of
the attorney-client privilege generally to the Murry LLC communications, but has not
yet made any ruling with respect to any specific communications. (R&R (Mar. 12,
2018) at 12–14, ECF No. 117.)
19
      In Camera Exhibit Q largely contains additional copies of the same
communications reflected in In Camera Exhibits M, N, O, P, R, S, and T. Included in
In Camera Exhibit Q are also communications between Mr. Adams and others for
which the defense has confirmed that there is no claim of privilege and the
government has copies of those materials. (E-mail from G. Maier to Menendez
Chambers (Aug. 9, 2018 04:19 PM) (“The documents over which Mr. Adams asserts a



                                            25
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 26 of 94




R, S, and T; Brever Decl. ¶ 3.) The Court finds that when members of the prosecution
team began reviewing the database in early May of 2016, they were not yet aware that
Mr. Adams had retained Mr. Brever to represent him for any tax-related legal issues.20
However, after they began reviewing the database and saw communications between
Messrs. Brever and Adams, AUSA Maria and Inspector Kroells discussed adding
Brever to the privilege filter list in the Relativity database. (See DX 21 (E-mail from D.
Maria to C. Kroells, et al. (May 16, 2016) (discussing the need to add Mr. Brever’s
name and “@fosterbrever.com” to list of filter terms).) Mr. Brever’s name was added
to the filter list on June 6, 2016. (Maria Decl. ¶10; DX 22.)

      The Yahoo! production was not the government’s only source for
communications involving Mr. Brever and Murry LLC with Mr. Adams. On
November 4, 2016, Murry LLC received a grand jury subpoena for documents from
AUSA Maria. (Brever Decl. ¶ 10.) Mr. Brever wrote a letter to AUSA Maria on
December 1, 2016, explaining that Murry LLC had been hired under a Kovel
arrangement by Mr. Brever’s firm to provide legal advice to Mr. Adams. (Brever Decl.



privilege are pages 12–22 of the 22-page PDF. Mr. Adams does not assert any
privilege over pages 1–11 of the PDF. . . .”) (on file with the Court).)
20
       Mr. Adams asserts that the government was on notice of Mr. Brever’s
representation much earlier because: (1) he listed Brever as his representative in a
December 2014 Domestic Voluntary Disclosure to the IRS; and (2) the IRS became
involved in the investigation of this case in May of 2015. (Def.’s Reply in Supp. of
Suppression Mot. (“Def.’s Suppression Reply”) at 5 (citing Gov’t’s Ex. 18, ECF No.
173-16, and Gov’t’s Resp. to Suppression Mot. (“Gov’t’s Suppression Resp.”), at 33
(“The IRS became involved in this investigation in May 2015.”)).) Mr. Adams also
points to the fact that an in camera document AUSA Maria saw on the first day he
began reviewing the Relativity database bears a privilege legend stating “Attorney-
Client Privileged Communication for Tom Brever and Pat Murry.” (Def.’s
Suppression Reply at 5 (quoting In Camera Ex. K).) These references do not persuade
the Court that the government knew about Brever’s representation of Mr. Adams
prior to beginning its review process. AUSA Maria’s May 16, 2016 message to
Inspector Kroells makes it more likely than not that the government learned of
Mr. Brever’s involvement only after review began.

                                           26
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 27 of 94




¶ 10 & Ex. E.) Mr. Brever asserted privilege over some communications, disclosed
others, and then withdrew his privilege designation of still more material and
disclosed it as well.

       AUSA Maria viewed emails dated September 25, 2014 that had been sent from
Mr. Adams to Mr. Brever regarding DL Investments, RL Investments, and ADR
Investments. (In Camera Ex. L.) On May 4, 2016, AUSA Maria “viewed” these emails
for the following durations before “viewing” another document in Relativity:
(1) 3 seconds; (2) 2 seconds; (3) 5 seconds; and (4) 5 seconds. (Gov’t’s Ex. 27
(“Relativity Log for In Camera Ex. L”) at 2, 4, and 12, ECF No. 173-23.) On May 12,
2016, Inspector Kroells saw one of these emails as well. (Relativity Log for In Camera
Ex. L at 12.)

       The communications between Mr. Adams and Murry LLC present a more
complicated chain of events, and an understanding the full context in which the
disputed issues in this case arise requires a detailed examination. Murry LLC became
involved in Mr. Adams’s tax matters in October of 2014. On October 27, 2014,
Mr. Brever emailed Patrick Murry of Murry LLC to retain the firm under a Kovel
arrangement. The government was not aware of this arrangement until much later, in
December of 2016, when Mr. Brever responded to the grand jury subpoena and
notified the government of it. On October 27, 2014, Patrick Murry of Murry LLC
responded to Mr. Brever’s Kovel engagement email by explaining that Murry LLC
“would be happy to prepare any amended returns that are required,” and that once
they received all the necessary information, they could “get right on preparing the
returns.” 21 (ECF No. 109-8; Brever Decl. ¶ 14, Ex. F (ECL-00033098–00033099); see
also Gov’t’s Resp. to Mot. to Suppress at 69.) Mr. Brever provided this message to the
government on December 20, 2016 after determining that those communications


21
       The government points to this October 27, 2014 message as an indication that
certain communications between Mr. Adams and Murry LLC were for the purpose of
preparing amended tax returns, and not for the purpose of assisting Mr. Brever in
providing legal advice.

                                          27
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 28 of 94




were not covered under attorney-client privilege nor protected by the work-product
doctrine. (Brever Decl. ¶ 14, Ex. F.)

      One allegedly privileged communication between Mr. Adams and Murry LLC
occurred on October 28, 2014. Mr. Adams emailed Mr. Murry and Ashley Miller of
Murry LLC an Excel spreadsheet entitled “ESA Tax Summary for P. Murry” and
asked them to let him know what else they would need “so we can resolve and file.”
(Gov’t’s Ex. 28, ECF No. 173-24.) In response to the grand jury subpoena, on
December 20, 2016, Mr. Brever provided this same email, which is identical to
Mr. Adams’s In Camera Exhibit R. (Compare Gov’t’s Ex. 28 with In Camera Ex. R and
Brever Decl. ¶ 14, Ex. F (ECL-00033080).) Mr. Brever did not claim privilege over
the email, but he did assert privilege over the attachment. Members of the prosecution
team reviewed the attachment on several occasions. (Gov’t’s Ex. 42 (“Complete
Relativity Log”) at 17, 24, 55, 133, 171, 225, 249, 269, 400, ECF No. 173-35.)

      Another allegedly privileged communication involving Murry LLC is an
October 29, 2014 email that Mr. Adams sent to Mr. Murry and Ms. Miller at Murry
LLC. Mr. Brever was copied on that email. (In Camera Ex. K.) Attached to the email
was an Excel spreadsheet entitled “ESA Tax Questions.” (In Camera Ex. K; Gov’t’s
Ex. 20, ECF No. 173-18.)22 On May 4, 2016, AUSA Maria “viewed” the spreadsheet
for 28 seconds and again for 1:42 before clicking on the next document in Relativity.
(Gov’t’s Ex. 21 (“Relativity Log for In Camera Ex. K”), ECF No. 173-19.) Later that
day, AUSA Maria “viewed” the email for 1 minute and 19 seconds and again looked
at the spreadsheet for an additional 3 seconds. (Relativity Log for In Camera Ex. K at
3, 12.) On May 9 and June 6, 2016, AUSA Maria “viewed” the spreadsheet for 14
seconds and 4 seconds respectively. (Relativity Log for In Camera Ex. K at 12.)
Mr. Brever also provided this same message in response to the grand jury subpoena


22
       The government has a copy of this email because Mr. Brever provided it to the
government in response to the grand jury subpoena. Mr. Brever did not assert that the
email itself is privileged. (Gov’t’s Resp. to Motion to Suppress (“Gov’t’s Suppression
Resp.”), at 62, ECF No. 172.)

                                          28
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 29 of 94




without asserting any claim of privilege. (Brever Decl. ¶ 14 and Ex. F (ECL-
00033079).)

      During its review of the Relativity database, the government accessed three
additional October 29, 2014 communications between Mr. Adams and Murry LLC,
which Mr. Adams claims are privileged. (In Camera Exs. M, N, and O.) AUSA Maria
viewed and printed some of these messages on May 4, 2016, September 7, 2016,
September 23, 2016, and January 23, 2017. (Complete Relativity Log at 17, 221, 249,
395.) Mr. Brever was not a party to these communications. However, in responding to
the grand jury subpoena in this case, Mr. Brever produced an October 29, 2014 email
from Mr. Adams to Murry LLC attaching his amended returns, again without
asserting privilege. (Brever Decl. ¶ 14, Ex. F (ECL-00033078).) This message is
identical to one of the communications that forms part of the email strings reflected
in In Camera Exhibits M, N, and O. (Compare id. (ECL-00033078) with In Camera Ex. M
at 2 (Doc ID 00224367), and In Camera Ex. N at 1–2 (Doc ID 0024368–69), and In
Camera Ex. O at 1–2 (Doc ID 00224409–10).)

      The government also saw a November 4, 2014 message from Mr. Adams to
Murry LLC. (In Camera Ex. P.) Again, Mr. Brever was not a part of these
communications. AUSA Maria viewed this document on May 4, 2016, September 7,
2016, September 23, 2016, and January 23, 2017. (Complete Relativity Log at 17, 221,
249, 395.)

      Another allegedly privileged communication with Murry LLC is dated
November 8, 2014. (In Camera Ex. S.) AUSA Maria viewed this communication twice
on September 7, 2016. (Complete Relativity Log at 221.) This message has three
attachments: “2009 Adams E Form 1040 Individual Tax Return.pdf”; “DLA Tax
Return Stock Trades (2009).xls”; and “ESA Tax Return Stock Trades (2009).xls.”
(Gov’t’s Ex. 28, ECF No. 173-25.) Mr. Brever provided the email and all three of
those attachments to the government in response to a grand jury subpoena without
asserting privilege. (Gov’t’s Resp. to Mot. to Suppress at 71; Brever Decl. ¶ 14, Ex. F
(ECL-00033077).)


                                           29
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 30 of 94




      Similarly, at issue here is an email Mr. Adams sent to Murry LLC on November
10, 2014. (In Camera Ex. T.) Mr. Brever produced this same email without asserting
privilege in response to the grand jury subpoena. (Gov’t’s Ex. 30, ECF No. 173-26;
Brever Decl. ¶ 14, Ex. F (ECL-00033104).)

              7. Dissemination of Some Murry LLC Communications

      Some of the allegedly privileged communications between Mr. Adams and
Murry LLC were shared among members of the prosecution team, specifically with
Agent Belich.23 On September 7, 2016, AUSA Maria sent Agent Belich several pieces
of information relevant to Mr. Adams’s claims that the government improperly
intruded on his privileged communications. One was the October 28, 2014 email
from Mr. Adams to his accountants at Murry LLC with the attached Excel
spreadsheet entitled “ESA Tax Summary for P. Murry.” (Compare In Camera Ex. Q at
18–24 with In Camera Ex. R.) As noted above, Mr. Brever later disclosed this email, but
not the attachment, in response to the grand jury subpoena.

      AUSA Maria also provided Agent Belich with emails from October 29, 2014,
where Mr. Adams communicated with his accountants at Murry LLC. One of these
messages is the same as in In Camera Exhibit M described above. (Compare In Camera
Ex. Q with In Camera Ex. M.) As noted above, disavowing any privilege for the
document, Mr. Brever disclosed one of the communications from Adams to
Murry LLC in response to the grand jury subpoena. (Brever Decl. ¶ 14, Ex. F (ECL-
00033078).)

      Finally, among the documents AUSA Maria sent Investigator Belich on
September 7, 2016 was another October 29, 2014 email from Mr. Adams to Murry

23
        On March 15, 2016, Inspector Kroells provided several emails to Agent Belich,
but it does not appear that these are among the Murry LLC communications for
which Mr. Adams has asserted privilege. (In Camera Ex. Q at 1 (discussing “1.31.09
email”); id. at 3–13 (email correspondence between Adams and others affiliated with
Apollo companies).)



                                          30
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 31 of 94




LLC for which Adams has claimed privilege. This message is identical to Mr. Adams’s
communication reflected in In Camera Exhibit N. (Compare In Camera Ex. Q at 16 with
In Camera Ex. N.)24

              8. Communications with Aaron Hartman and Michael Monahan

       A final category of allegedly privileged communications that Mr. Adams
contends the government unreasonably reviewed concern civil litigation in which
Mr. Adams and Mr. Monahan were represented by Aaron Hartman of the Anthony
Ostlund Baer & Louwagie law firm. (In Camera Ex. U; Wade Decl. ¶ 12.) When the
government first generated its list of filtering terms to exclude potentially privileged
communications from the Relativity database, one of the terms it used was
“anthonyostlund,” which corresponds to an email domain used by Mr. Hartman’s
firm. (Maria Decl. ¶ 5.) The government’s filtering did not include the term “aoblaw,”
which is another email domain that Mr. Hartman used when emailing Mr. Adams and
Mr. Monahan. (See In Camera Ex. U.)

       Some of the emails between Messrs. Adams, Monahan and Hartman that were
viewed by the government concern claims brought by Paul Rapello and Kristoffer
Mack, investors in Focus Capital Group25 and Private Scio. Their lawsuit generally
alleged: that Mr. Adams “spent the past decade attempting to work numerous deals
through Apollo Diamond for his own personal profit”; and that he and Monahan set
up Private Scio and Public Scio for their own benefit and defrauded shareholders.
(Mot. to Dismiss Exhibit 8 (“MTD Ex.”), ECF No. 142.) The communications now
at issue involve May 2012 efforts to resolve the Rapello and Mack claims through a

24
       Though the content of Mr. Adams’s communication to Murry LLC reflected in
these two items in the record is the same, the version in In Camera Exhibit Q is dated
Thursday, October 30, 2014 at 12:25 AM and the version in In Camera Exhibit N is
dated Wednesday, October 29, 2014 at 7:25 PM.
25
      As Inspector Kroells’s affidavit in support of the search warrant indicated,
Focus Capital Group was in investment banking firm created and operated by
Mr. Adams and Mr. Monahan. (Kroells Aff. ¶ 10.)

                                            31
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 32 of 94




settlement and include draft settlement agreements. Other emails in In Camera
Exhibit U relate to discussion of a potential lawsuit Mr. Adams and Mr. Monahan
contemplated bringing in July of 2012.

      AUSA Maria and Inspector Kroells viewed messages within In Camera
Exhibit U a total of 35 times on May 24th, 25th, and 31st, June 28th, and December
13th, 2016. The majority of these views were by Inspector Kroells. (Gov’t’s Ex. 41
(“Relativity Log for In Camera Ex. U”) at 10, 13, 14, 15, 21, and 22, ECF No. 173-34.)
Several of AUSA Maria’s and Inspector Kroells’s views of these messages were very
brief, lasting between 1 and 3 seconds each.26 A handful of other views lasted between
5 and 15 seconds.27 The remaining views were of the following durations: 1:54; 25
seconds; 46 seconds; 40 seconds; 18 seconds; 23 seconds; and 36 seconds.28




26
       See Relativity Log for In Camera Ex. U at 10 (2 views of 3 seconds), 13 (1 view
of 3 seconds), 14 (10 views of 3 seconds or less), 21 (2 views of 3 seconds), 22 (2
views of 3 seconds).
27
       Relativity Log for In Camera Ex. U at 13 (1 view of 12 seconds), 14 (one view
of 11 seconds), 15 (2 views of 12 and 15 seconds), 21 (views of 5, 6, and 15 seconds),
22 (views of 7 and 12 seconds).
28
       Relativity Log for In Camera Ex. U at 10 (1:54), 13 (25 seconds), 14 (46
seconds), 15 (40 seconds), 21 (views of 18 and 23 seconds), 22 (36 seconds). The view
lasting 1:54 may be an overestimation. AUSA Maria opened Document ID 00447095
at 10:14:29 AM on May 24, 2016. His next action in Relativity was running a search at
10:16:25 AM. (Relativity Log for In Camera Ex. U at 10.) AUSA Maria had just
viewed the email string with the same Document ID for 3 seconds at 10:14:23 AM
and then a nearly identical email string with Document ID 00447097 at 10:14:26 AM
(Id.) The Court finds it is unlikely that AUSA Maria studied the largely innocuous
email string for nearly two minutes.

                                          32
       CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 33 of 94




III.   Motion to Dismiss Indictment or to Disqualify Prosecution Team

       Asserting that the government intentionally intruded on his attorney-client
privilege, used privileged information to develop charges against him and anticipate
his defenses, and learned information relevant to his trial strategy, Mr. Adams asks the
Court to dismiss the indictment. He contends that this result is appropriate under the
Sixth Amendment, the Fifth Amendment, and the Court’s supervisory powers. He
also asserts that, at a minimum, the tax charges against him must be dismissed because
the government directly used his privileged communications to develop those charges.
Alternatively, as relief for the same alleged improprieties, Mr. Adams contends that
the prosecution team must be disqualified.

       A. Sixth Amendment

       Mr. Adams asserts that the indictment should be dismissed because the
prosecution team violated his Sixth Amendment right to effective assistance of
counsel by viewing privileged communications. (Def.’s Mot. to Dismiss Mem. (“Def.’s
MTD Mem.”), ECF No. 144.) Mr. Adams argues that by viewing his communications
with Latham & Watkins attorneys, Mr. Hopeman, Mr. Brever, Murry LLC, and
Mr. Hartman, the government learned important details about how he views certain
facts that are directly related to allegations in the indictment. (Def.’s MTD Mem. at 5.)
Mr. Adams’s argument cannot succeed, however, because at the time of the
complained-of intrusions, his Sixth Amendment right to counsel had not attached.

       A Sixth Amendment claim based on violation of the attorney-client privilege,
requires a two-part showing by the defendant: (1) a knowing intrusion into the
attorney-client relationship by the government; and (2) that the defendant was
prejudiced or that there was a substantial threat of prejudice. United States v. Tyerman,
701 F.3d 552, 559 (8th Cir. 2012); United States v. Singer, 785 F.2d 228, 234 (8th Cir.
1986). However, a person’s Sixth Amendment “right to counsel attaches only after the
time that adversary judicial proceedings have been initiated against him.” Kirby v.
Illinois, 406 U.S. 682, 688 (1972). The Supreme Court has plainly held that Sixth


                                            33
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 34 of 94




Amendment rights are not implicated by events that occur prior to formal criminal
charges. See United States v. Gouveia, 467 U.S. 180, 187–88 (1984) (relying on Kirby, 406
U.S. at 688–89, for the proposition that adversary judicial criminal proceedings are
initiated and the Sixth Amendment right to counsel attaches when there is a formal
charge, preliminary hearing, indictment, information, or arraignment, and rejecting the
argument that the Sixth Amendment right to counsel can attach upon arrest).

       Nothing in later Supreme Court or Eighth Circuit precedent suggests any
softening of the attachment requirement. Indeed, all of the Eighth Circuit decisions
cited by Mr. Adams concern Sixth Amendment claims arising in the context of post-
indictment intrusion on attorney-client relationships, and are therefore simply not
instructive in this case.29 See Singer, 785 F.2d at 230 (describing how the government
acquired and reviewed portions of his trial counsel’s trial-strategy file following
initiation of formal criminal proceedings); Clark v. Wood, 823 F.2d 1241, 1249–50 (8th
Cir. 1987) (evaluating claim that jail officials “surreptitiously monitored his
conversations with his attorney” after he was indicted); United States v. Davis, 646 F.2d
1298, 1302–03 (8th Cir. 1981) (finding that an agent who entered conversations with
the defendant without consent from his appointed attorney following his arrest
intruded on the defendant’s privacy rights, “but no sixth amendment violation existed
because no incriminating information was gleaned”); United States v. Crow Dog, 532
F.2d 1182, 1197 (8th Cir. 1976) (addressing alleged post-indictment government
misconduct during the prosecution of the defendants). None of this authority
supports Mr. Adams’s argument that the analysis should be the same in this case
where Mr. Adams had not yet been charged or even arrested at the time of the

29
        Mr. Adams also cites the Third Circuit’s decision in United States v. Levy, 577
F.2d 200 (3d Cir. 1978). Levy too involves a defendant’s Sixth Amendment claim
based on the government’s use of a DEA informant who had the opportunity to
obtain attorney-client communications between the defendant and their mutual
attorney after an indictment was returned. See id. at 202–03. The same is true of the
Tenth Circuit’s decision in Shillinger v. Haworth, 70 F.3d 1132, 1134 (10th Cir. 1995),
which concerned the government’s use of information obtained from the defendant’s
trial-preparation meetings with his attorney during cross examination.

                                            34
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 35 of 94




complained-of conduct. See also Isaacson v. State of Minnesota, No. 14-cv-4592
(JNE/JSM), 2016 WL 1714462, at *22–24 (D. Minn. Jan. 11, 2016) (rejecting habeas
petitioner’s Sixth Amendment claim premised on allegation of interference with right
to counsel by attempting to record phone call by drunk-driving arrestee with an
attorney because his “Sixth Amendment rights had not even attached. Accordingly,
even if Deputy Pedersen had intentionally interfered with Petitioner’s ability to
consult with counsel, no Sixth Amendment violation occurred”), R&R adopted by 2016
WL 1651800, (D. Minn. Apr 26, 2016).

      Even though no adversary criminal proceedings had been initiated against him
at the time AUSA Maria and Inspector Kroells viewed privileged communications,
Mr. Adams nonetheless argues that their conduct violated his Sixth Amendment
rights and requires dismissal of the indictment. Mr. Adams disagrees that the
precedent discussed above is directly relevant to these circumstances. He asserts that
there is no binding precedent from the Supreme Court and the Eighth Circuit and he
cites cases from other jurisdictions to suggest that the Sixth Amendment can be
applied when the government’s conduct occurs prior to the indictment. (Def.’s Reply
in Supp. of Mot. to Dismiss (“Def.’s MTD Reply”) at 11–13, ECF No. 198.) He
contends that his Sixth Amendment rights were violated here because, by the time the
prosecution team began reviewing his emails: (1) he was faced with an SEC
enforcement investigation, there had been 67 grand jury subpoenas issued, and he had
already communicated with Mr. Hopeman; and (2) the government’s conduct prior to
formal indictment “has post-charge consequences.” (Def.’s MTD Reply at 12.) These
creative arguments are unpersuasive.

      The Court is not persuaded by Mr. Adams’s suggestion that the existence of an
SEC investigation or the issuance of several grand jury subpoenas triggered his Sixth
Amendment right to counsel. Citing to Gouveia and these events, Mr. Adams asserts
that he was faced with the “‘prosecutorial forces of organized society, and immersed
in the intricacies of substantive and procedural criminal law.’” (Def.’s MTD Reply
(quoting Gouveia, 467 U.S. at 189 (quoting Kirby, 406 U.S. at 689)). While Mr. Adams


                                           35
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 36 of 94




correctly quotes the lofty language of the Supreme Court from Gouveia and Kirby, he
ignores their holdings. Gouveia rejected the defendants’ claims that they were entitled
to appointment of counsel while they were held in administrative segregation for
suspicion that they murdered another inmate before any adversary judicial
proceedings had been initiated against them. 467 U.S. at 192–93. The Supreme Court
also rejected the notion that its earlier precedent held that the right to counsel attaches
at the time of arrest. Id. at 190 (“[W]e have never held that the right to counsel
attaches at the time of arrest.”). Considering its holding and its explicit rejection of an
earlier point of attachment, Gouveia provides no support for Mr. Adams’s position.

       Mr. Adams also cites United States v. Solomon, 679 F.2d 1246 (8th Cir. 1982), and
argues that the court found a Sixth Amendment violation occurred “without
mentioning attachment” based on “police interference with his relationship with
counsel” two months before the defendant was charged. (Def.’s MTD Reply at 11
n.13.) This Court is not persuaded that the Eighth Circuit’s comment in a footnote
that “there is little doubt that the lower court’s holding is correct that Solomon’s Sixth
Amendment rights were violated” somehow abrogates substantial contrary precedent
that directly addresses the issue of attachment. See 679 F.2d at 1250 n.7.
As Mr. Adams’s own parenthetical description of this case concedes, Solomon says
nothing about attachment of the Sixth Amendment right to counsel. No part of
Solomon’s holding, or even its reasoning, can be used to conclude that the Eight Circuit
intended to adopt a theory that the Sixth Amendment right to counsel attaches prior
to initiation of adversary criminal proceedings. And indeed the Court’s own search of
relevant precedent does not reveal any hint of softening of the bright-line attachment
rule that has governed for more than four decades.

       The Court is also unpersuaded by Mr. Adams’s reliance on out-of-circuit cases
in his attempt to unsettle the settled. First, whatever the value of the assertion that
“[t]he Sixth Amendment can apply when the government’s conduct occurs pre-
indictment” found in In re Grand Jury Proceedings (Goodman), 33 F.3d 1060, 1062 (9th
Cir. 1994), that case says nothing about dismissing an indictment in such a situation.


                                            36
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 37 of 94




Similarly, the unique circumstances facing the defendant that led to a finding that the
Sixth Amendment right to counsel had attached in Matteo v. Superintendent, SCI Albion,
171 F.3d 877, 892–93 (3d Cir. 1999), do not support such a conclusion in
Mr. Adams’s case. When Matteo’s telephone conversations with his attorney were
taped by the government in that case, he was arrested on a warrant charging him with
murder, he was in custody, he was represented by counsel, and “he had undergone
preliminary arraignment.” Id. at 893. No comparable immersion in the intricacies of
substantive or procedural criminal law were similarly at play in Mr. Adams case.30

       Much more persuasive is the out-of-circuit authority cited by the government
in its response to the motion to dismiss. (Gov’t’s MTD Resp. at 3–4 (citing cases).) In
United States v. Kennedy, 225 F.3d 1187, 1194 (10th Cir. 2000), for example, the Tenth
Circuit squarely held that “[g]overnment intrusions into pre-indictment attorney-client
relationships do not implicate the Sixth Amendment.” Id. (citing United States v. Lin
Lyn Trading, Ltd., 149 F.3d 1112, 1117 (10th Cir. 1998), and United States v. Kingston,
971 F.2d 481, 491 (10th Cir. 1992)). Just as Mr. Adams argues in this case, in Kennedy
the defendant claimed that the government violated his Sixth Amendment right to
counsel when it obtained information from his attorney before the indictment was
issued. Because the right had not attached, however, the Tenth Circuit rejected the


30
       Mr. Adams also relies on United States v. Stein, 435 F. Supp. 2d 330, 366-67
(S.D.N.Y. 2006), an idiosyncratic decision in which a district court concluded that the
Sixth Amendment right to counsel attached early due to the government’s pre-
indictment conduct. In Stein, prior to the initiation of adversary judicial proceedings,
the government implemented a policy to compel a business to refuse to pay for the
representation of its employees in a criminal case. Id. at 366. The court reasoned that
the Sixth Amendment right to counsel attached under these circumstances because
“events were set in motion prior to indictment with the object of having, or with
knowledge that they were likely to have, an unconstitutional effect” when the
indictment was eventually returned. Id. This novel theory contradicts, without real
discussion, caselaw from the Supreme Court that squarely limits the attachment of the
Sixth Amendment right to counsel to events that occur after the initiation of
adversary criminal proceedings. In the face of the settled precedent, this Court will
not extend Stein to the circumstances of this case.

                                            37
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 38 of 94




defendant’s argument that he was entitled to an evidentiary hearing to explore the
alleged invasion of the attorney-client relationship during that pre-indictment period.
Id.

      Perhaps even more analogous to the situation here is Lin Lyn Trading, where the
Tenth Circuit found that the district court erred in dismissing an indictment for a
Sixth Amendment violation based on the pre-indictment seizure of attorney-client
communications. 149 F.3d at 1117. In an investigation for violations of customs laws,
when the defendant was apprehended re-entering the United States from Asia, a
customs agent seized a notepad that the defendant told him documented his
conversations with legal counsel. Id. at 1113. The notepad contained information
related to the prosecution, was shared within the customs office, and the customs
agent had retained copies of the notepad in an unmarked folder. Id. Though the
district court found that the entire investigation was tainted by the government’s
familiarity with the contents of the notepad and dismissed the indictment on Sixth
Amendment grounds, the Tenth Circuit reversed because the right to counsel
“attaches only ‘at or after the initiation of adversary judicial criminal proceedings—
whether by way of formal charge, preliminary hearing, indictment, information, or
arraignment.’” Id. at 1117 (quoting Kirby, 406 U.S. at 689). The Tenth Circuit also
rejected the argument that the illegal seizure of the privileged communications
transformed into a Sixth Amendment violation “immediately upon return of the
indictment” because the investigation used the tainted evidence. Id. (concluding, based
on Maine v. Moulton, 474 U.S. 159 (1985), that “we do not agree that the Sixth
Amendment was violated immediately upon return of the indictment where the illegal
seizure had occurred previously”).

      All the alleged invasions of Mr. Adams’s attorney-client relationships that
underlie his Sixth Amendment claim occurred prior to his indictment. The same
reasoning that led the Tenth Circuit to conclude that it was error to dismiss the
indictment based on the Sixth Amendment in Lin Lyn Trading precludes the Court
from recommending dismissal of the indictment against Mr. Adams in this case. See


                                           38
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 39 of 94




also United States v. Voigt, 89 F.3d 1050, 1071 n.10 (3d Cir. 1996) (“We also reject
Voigt’s claim that the government’s pre indictment use of [alleged attorney] as a
confidential informant, even assuming she was his attorney, implicates Sixth
Amendment concerns.”).

       For these reasons, the Court concludes that Mr. Adams is not entitled to
dismissal of the indictment pursuant to the Sixth Amendment because his right to
counsel had not yet attached.

       B. Fifth Amendment

       Mr. Adams next argues that dismissal of the indictment is required because the
government’s review of his privileged communications violated his Fifth Amendment
right to due process. He asserts that “the prosecution team’s intentional, repeated
viewing of multiple unambiguously privileged documents going to the heart of a
criminal investigation is shocking behavior.” (Def.’s MTD Mem. at 27.) He contends
that it also shocks the conscience for the government to have searched for and used
communications with Murry LLC. (Def.’s MTD Mem. at 28.) As explained below, the
Court concludes that Mr. Adams has failed to demonstrate a due-process violation
requiring dismissal of the indictment, and his motion should be denied.

          1. Outrageous conduct and prejudice

       The Eighth Circuit has observed that “there may be circumstances in which the
conduct of law enforcement agents is so outrageous that due process bars the
government from invoking the judicial process to obtain a conviction[.]” United States
v. King, 351 F.3d 859, 867 (8th Cir. 2003) (citing United States v. Russell, 411 U.S. 423,
431–32 (1973)); United States v. Jacobson, 916 F.2d 467, 469 (8th Cir. 1990) (“We
recognize due process bars the government from invoking judicial process to obtain a
conviction when the investigatory conduct of law enforcement agents is
outrageous.”), rev’d on other grounds in Jacobson v. United States, 503 U.S. 540 (1992).




                                              39
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 40 of 94




       To establish a due process claim sufficiently egregious to require dismissal of an
indictment, a defendant must satisfy a two-prong test. First, the conduct at issue must
be outrageous. A due-process violation occurs when the government engages in
conduct that “shocks the conscience of the court.” United States v. Pardue, 983 F.2d
843, 847 (8th Cir. 1993) (internal citations omitted). This constitutional basis for
dismissal of the indictment is limited to situations involving only “the most intolerable
government conduct.” Pardue, 983 F.2d at 847 (quoting United States v. Musslyn, 865
F.2d 945, 947 (8th Cir. 1989)). “[T]he doctrine of outrageous government misconduct,
although often invoked by defendants, is rarely applied by the courts.” United States v.
Voigt, 89 F.3d 1050, 1065 (3d Cir. 1996).

       Second, to secure a remedy for a Fifth Amendment due process violation, a
defendant must demonstrate actual prejudice resulting from the government’s
misdeeds. United States v. Morrison, 449 U.S. 361, 365–66 & n.3 (1981) (stating that a
where a “Fifth Amendment violation has occurred” dismissal is “plainly
inappropriate” unless there has been a showing of prejudice and citing United States v.
Blue, 384 U.S. 251 (1966)); Voigt, 89 F.3d at 1066 (“[A] claim of outrageous
government conduct premised upon deliberate intrusion into the attorney-client
relationship will be cognizable where the defendant can point to actual and substantial
prejudice.”).

          2. United States v. Voigt

       Both the government and Mr. Adams pay close attention to the Third Circuit’s
decision in Voigt in addressing the motion to dismiss, and the Court agrees it merits
exploration. In relevant part, the Voigt court considered whether to overturn the
defendant’s convictions on wire fraud, money laundering, and tax-evasion charges
based on allegations of outrageous government conduct, namely alleged pre-
indictment intrusion into the defendant’s attorney-client relationship. 89 F.3d at
1061–71. On appeal, Voigt argued that the district court should have dismissed the
indictment because the government had used a codefendant, Travis, as a confidential
informant even though Travis had allegedly acted as Voigt’s attorney during the


                                            40
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 41 of 94




investigation and represented a trust through which Voigt perpetrated his fraudulent
scheme. Id. at 1068.

       The Third Circuit considered three factors in evaluating Voigt’s due-process
claim: “(1) the government’s objective awareness of an ongoing, personal attorney-
client relationship between its informant and the defendant; (2) deliberate intrusion
into that relationship; and (3) actual and substantial prejudice.” Id. at 1067.31 In the
portion of the decision most relevant to the analysis here, the court determined that
after the government became objectively aware that Travis was representing both the
trust and Voigt, the record failed to “establish[] the sort of purposeful intrusion into
her attorney-client relationship with Voigt that would rise to the level of
outrageousness.” Id. at 1069. In rejecting Voigt’s contention that a deliberate intrusion
of outrageous proportion had occurred during the relevant post-knowledge period,
the court relied on evidence that the government took affirmative steps to avoid
exposure to privileged communications from the informant and found that there was
no evidence that any disclosure of privileged information was “at the behest of the
government.” Id.

       Later decisions applying Voigt’s test to claims of government interference with
attorney-client relationships demonstrate that a significant showing is required. For
example, in United States v. Stringer, 535 F.3d 929, 941–42 (9th Cir. 2008), the Ninth
Circuit reversed a district court’s dismissal of an indictment on due process grounds
and suppression of evidence. In Stringer, the attorney for one defendant, Mr. Samper,
also represented his former company, FLIR, and despite a conflict of interest known
to the government, voluntarily provided information adverse to Samper to the


31
       The Eighth Circuit referenced the Voigt test in United States v. Williams, 720 F.3d
674 (8th Cir. 2013), but did not explicitly apply it because the evidence demonstrated
that there was no mutual understanding that an attorney-client relationship existed
between the defendant and the individual he claimed was his counsel for purposes of
his Fifth Amendment challenge. Id. at 689–90. Although not controlling, the Court
considers the test in Voigt to be a useful guide in analyzing Mr. Adams’s Fifth
Amendment claim.

                                            41
       CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 42 of 94




government. See id. at 935–36 (describing how disclosure of information helped form
the basis of the charges against Samper in the indictment). Nonetheless, the Ninth
Circuit held that this was insufficient to warrant a remedy under the Fifth
Amendment, reasoning that the government did not deliberately intrude on the
attorney-client relationship by accepting evidence from the conflicted attorney. Id. at
942.

          3. Analysis: No Outrageous Conduct or Purposeful Intrusion

       In this case, the Court concludes that the prosecution team did not engage in
outrageous conduct that shocks the conscience during its review of the Yahoo! email
production. The Court reaches this conclusion for several reasons. Nothing in the
record suggests that the prosecution team went hunting for Mr. Adams’s privileged
communications with his attorneys. Rather, the government took repeated affirmative
steps to avoid exposure to communications between Adams and his known attorneys.
The team’s efforts succeeded in removing many privileged communications from the
database, but its process did not catch every allegedly privileged document. However,
the circumstances surrounding the instances in which the government actors
encountered privileged material indicate that the government’s actions were either
reasonable but imperfect or, at worst, in one instance, careless. Carelessness, as the
caselaw demonstrates, presents no legal basis to hold that a due-process violation has
been committed or that an indictment should be dismissed.

             a. No Targeting of Known Privileged Communications
       First, and perhaps most importantly, there is no evidence that members of the
prosecution team ever intentionally targeted Mr. Adams’s privileged communications
with his own attorneys.32 As such, this case does not involve the kind of “purposeful


32
      It is true that the government intentionally searched for communications
between Mr. Adams and his Kovel accountants at Murry LLC. However, the unique
circumstances surrounding those inquiries undermine a conclusion that the



                                           42
        CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 43 of 94




intrusion” by the government that would shock the conscience. See Voigt, 89 F.3d at
1069.

        Indeed, the record shows that the prosecution team took reasonable measures
before reviewing the emails and other documents in the Relativity database to exclude
any communications between Adams and attorneys representing him that were
known to the government.33 They did so through an initial “mechanical filtering” that
excluded many potentially privileged documents that they never reviewed. And
later—after learning that their list of names and email accounts that might be
associated with privileged communications was incomplete—they supplemented that
filtering to exclude additional documents. Demonstrably, this process allowed some
privileged communications to slip through the cracks, but the fact that the
government engaged in these efforts tells a different story than the blatant trampling
of privilege that Mr. Adams describes. The government’s seemingly sincere and largely
successful efforts to remove privileged communications from the database
undermines an argument that it deliberately intruded on known attorney-client
relationships. See Voigt, 89 F.3d at 1069–70 (reasoning that the government did not
engage in outrageous conduct where it took steps to avoid exposure to privileged


prosecution team was intentionally violating a known privilege. The Murry LLC
communications are separately explored below.
33
        Mr. Adams focuses on the fact that Inspector Kroells reviewed material
received directly from the thumb drive provided by Yahoo! before any privilege
filtering occurred and he highlights her testimony that it is likely she came across
some privileged communications when she conducted that initial review. However,
the Court credits Inspector Kroells’s testimony that she began this review with the
limited purpose of confirming the contents of the thumb drive received from Yahoo!
and there is no evidence that she deliberately went in search of privileged
communications during this period, undercutting any suggestion that her actions
evince a conscience-shocking “purposeful intrusion” into known attorney-client
relationships. Moreover, the Court does not consider Kroells’s actions here to be
outrageous given that she proceeded only after she received approval from AUSA
Maria to review Adams’s communications with employees of Apollo and Scio based
on the companies’ waiver of privilege.

                                          43
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 44 of 94




communications between the attorney-informant, never solicited the attorney-
informant’s calls after learning of the representation, and where the “government’s
actions … demonstrated sensitivity to potential ethical problems,” including an
AUSA’s “efforts to steer clear of privileged information”).

              b. Mechanical Filtering Does Not Show Deliberate Intrusion

       Mr. Adams argues that the government’s framing of the terms used in the
filtering is evidence that it intended to review, rather than exclude, privileged
communication, or that it was at least culpably reckless as to that outcome.
Specifically, Mr. Adams emphasizes that the prosecution team decided to proceed
with a second, narrower list of mechanical-filtering terms to weed out privileged
documents, because an initial, more general list, would have quarantined too many
documents. However, a close examination of the record demonstrates that this
decision was neither outrageous conduct, nor a deliberate attempt to intrude on
attorney-client relationships. Instead, it was a reasonable effort to remove privileged
documents from view without unnecessarily excluding relevant and non-privileged
ones. It was particularly sensible for the government to conclude, as the evidence
shows, that its general list of filtering terms (e.g., attorney, privilege) was unworkable
here in light of general disclaimer language on many emails and the Apollo/Scio
waiver of privilege. The Court and presumably all counsel have experienced first-hand
the reality that emails from attorneys often contain such disclaimer language, even
when they do not contain a shred of privileged content. While intentional disregard of
genuine privilege is unacceptable, the Court declines to find that the government’s
decision to run a targeted list of filtering terms shocks the conscience.

       Because the government quickly learned that mechanical filtering for the list of
general terms was unworkable, it was reasonable for it to try a more precise approach.
The government was aware of several attorneys and law firms who had represented
Mr. Adams at the time the prosecution team’s review of the database occurred; the
use of their names and related keywords in a more targeted list of mechanical filtering



                                            44
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 45 of 94




terms that it selected still excluded many documents from the database, without
improperly segregating voluminous non-privileged information.

       Similarly, the prosecution team’s decision to forego the use of a “taint team”
after initially considering one does not evince a sinister motivation to penetrate
attorney-client confidentiality. (See Def.’s MTD Mem. at 33–34 (suggesting the
government should have used a “taint team,” but also indicating asserting that “even
taint teams violate constitutional rights”).) He also suggests, without authority, that
returning to the emails to Jon Hopeman, Mr. Adams’s criminal defense attorney at the
time, would have been the preferred approach. The Court disagrees that the
Constitution requires the government to follow such a process.

       Mr. Adams points to no authority that supports the proposition that the
government’s choice between alternative methods for screening out privileged
communications from seized electronic documents is outrageous. And his suggestion
that the decision to forego a taint team is evidence of improper intent is at odds with
his position, taken elsewhere in this litigation, that taint teams are always
constitutionally suspect. To the contrary, the fact that the government weighed several
options when it was determining how to proceed in the execution of the search
warrant, and selected one that it believed was the best fit for its investigation and
would exclude communications with his known attorneys demonstrates that the
prosecution team took affirmative steps to avoid exposure to privileged material.

              c. Viewing Documents With Privilege Banners
       The Court is not persuaded by Mr. Adams’s specific argument that it was an
outrageous, deliberate intrusion into known attorney-client relationships for the
government to have viewed documents that contained “attorney-client privilege” or
“work product” banners or headers. Certainly, a more cautious practice might have
been for investigators encountering such documents to immediately close them, flag
them as potentially privileged, sequester them from the reviewable database (if
possible), and proceed with a prophylactic approach, such as referring the documents
to a “taint team” for a determination of their status, or using a review of the to-and-

                                            45
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 46 of 94




from lines of the emails to gather further information about privilege. However, the
mere fact that the government did not follow that path does not mean, as Mr. Adams
suggests, that the government forged ahead with blatant disregard for his rights to
confidentiality in those communications.

      The evidence relating to the use of privilege banners and the unique facts of
this case undermine Mr. Adams’s argument on this point. For instance, prior to
reviewing the email production from Yahoo!, the prosecution team learned that
Apollo and Scio were waiving any claims of privilege with respect to communications
between the companies and Mr. Adams. It appears that this waiver affects a large
volume of communications in the database over which Mr. adams would otherwise
have attempted to assert privilege. Armed with that knowledge, it was reasonable (and
certainly not outrageous) for reviewers to conclude that there would be many items in
Mr. Adams’s email account that would facially suggest privilege existed, but for which
no privilege was going to apply. Therefore, the prosecution team was not required to
proceed with the assumption that every email or other document in the Yahoo!
production bearing a privilege banner was protected.

             d. Draft Memo Sent From Mr. Adams to Mr. Adams

      Mr. Adams also claims that it was outrageous for the government to view a
draft of a memo (In Camera Ex. A) he later transmitted to his SEC counsel at Latham
& Watkins and to Mr. Kopecky because it had a privilege banner. However, once
again an examination of the full circumstances surrounding this document
undermines Mr. Adams’s argument. The version of this memo that Mr. Adams
actually sent to his attorneys was properly segregated into the not-for-review database
by the mechanical filtering efforts the government employed and was never accessed.
AUSA Maria and Inspector Kroells only saw the draft of that memo that was attached
to the email Mr. Adams sent from himself to himself. The body of the memo includes
the name of no attorney with whom Mr. Adams had an attorney-client relationship
known to the government. Although it contains a privilege banner, as discussed
above, the government had valid reasons for not allowing that to control its analysis,


                                           46
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 47 of 94




and nothing about the document aside from the banner suggested that the document
was prepared for counsel. And there is no indication from the face of the document
that it would later be sent to a third party, let alone a lawyer. It was not, therefore, an
obviously privileged communication between a client and an attorney, and the Court
cannot conclude that the government engaged in outrageous conduct in light of these
circumstances.

              e. The Hopeman Memo

       Mr. Adams properly places significant emphasis on the government’s review of
the Hopeman Memo. However, the Court disagrees with Mr. Adams’s contention
that the circumstances in which AUSA Maria and Inspector Kroells accessed the
document (In Camera Exhibit J) reflect outrageous government conduct. Mr. Adams
notes that the Hopeman Memo included an attorney-client privilege banner and that
Mr. Hopeman’s name was clearly visible near the top of the document. He also
stresses that Mr. Hopeman had contacted the government on Adams’s behalf in
March of 2016, before the government began searching through his emails. Certainly,
if the government took the most cautious approach, it should have added
Mr. Hopeman’s name to its list of mechanical filtering terms at that point, before the
review of the emails was underway. Doing so may have meant that the litigation over
this clearly privileged document would have been avoided. However, the fact that the
prosecution team did not do so does not mean that its conduct was outrageous. This
is particularly true in light of the clear efforts made by the government after
discovering the document remained in the database.

       At the time they began reviewing documents in May of 2016, members of the
prosecution team knew that the database contained communications from October
2006 through January 2016. Though Mr. Hopeman contacted AUSA Kokkinen in
March of 2016 on Mr. Adams’s behalf, nothing in the record suggests that
Mr. Hopeman informed him he had represented Adams, or even communicated with
him, prior to January of 2016. Because the prosecution team had not received any
notice making them objectively aware that Mr. Adams and Mr. Hopeman had


                                             47
        CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 48 of 94




established an attorney-client relationship prior to January 7, 2016, the Court does not
infer from the government’s failure to add Mr. Hopeman’s name to the list of
mechanical filtering terms following the March 2016 communication that the
prosecution team deliberately intruded on the attorney-client relationship.

        Further, as soon as AUSA Maria encountered the document he took action to
protect Mr. Adams’s privilege. As the Court’s above proposed findings of fact
indicate, when AUSA Maria viewed the memo on May 5, 2016, he “updated” or
tagged the document as privileged during that encounter. Mr. Adams speculates that
AUSA Maria may have lingered over the document or that he could have taken any
number of other actions that were not recorded in the Relativity logs. However,
Maria’s tagging of the document as privileged is inconsistent with such speculation or
a conclusion that his view of the memo constitutes a deliberate intrusion on an
attorney-client relationship.

        The Court also finds nothing outrageous about the government’s subsequent
conduct concerning the Hopeman Memo or Mr. Adams’s attorney-client relationship
with Mr. Hopeman. The record permits no inference that the communication with
Mr. Hopeman remained in the for-review folder after AUSA Maria tagged it as part of
a deliberate effort to intrude on an attorney-client relationship. A lack of
understanding of the technical difference between how to flag a document as
privileged and how to remove it from view or, at most, carelessness appears to explain
the memo’s continued availability to reviewers in the database. Moreover, when
Inspector Kroells later encountered the memo (on May 11, 2016) and the email to
which it was attached during her subsequent searches, each of her views lasted a very
short period, suggesting no concerted effort to subvert Mr. Adams’s private
communications. Instead, she thereafter communicated with AUSA Maria about
communications with Mr. Hopeman being in the database and the need to sequester
them.

        Mr. Adams also suggests that the Court should find outrageous government
conduct given that the prosecution team did not add Mr. Hopeman’s name to the list


                                            48
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 49 of 94




of attorneys whose communications were sequestered until June 6, 2016. The Court
disagrees. The fact that the prosecution team added Mr. Hopeman to that list, even if
the action was delayed, undermines the insinuation that the government purposefully
intruded on an attorney-client relationship. During that three-week gap, there is no
evidence that Maria, Kroells, or any other member of the prosecution team sought
out the Hopeman Memo or email in any way again. Indeed, the record indicates no
one else saw them after Inspector Kroells’s May 11, 2016 encounter. Although the
handling of the Hopeman Memo is a source of concern in this case because of its
content, none of the government’s conduct in handling the memo comes close to the
sort of intentional and unscrupulous behavior required to invoke the “rarely applied”
doctrine of outrageous government conduct. See Voigt, 89 F.3d at 1065. Imperfect or
even careless handling of a sensitive document falls far short.

             f. Murry LLC

      The one set of allegedly privileged communications which the government
purposefully sought and used were Mr. Adams’s communications with Murry LLC,
the accounting company with whom Mr. Adams worked pursuant to a Kovel
agreement. Mr. Adams urges that the intentional nature of the government’s actions
in this arena requires a remedy. The government concedes that its actions with respect
to the Murry LLC communications were of a “more deliberate nature.” (Gov’t’s MTD
Resp. at 18.) Nevertheless, for several reasons, Mr. Adams is unable to show that the
government’s intentional searches for and review of Murry LLC material was
outrageous or conscience shocking.

      First, AUSA Maria’s initial search for communications with Murry LLC came
before the prosecution team was reasonably on notice that there was any potential
that communications with the accounting firm might have been privileged pursuant to
Kovel. His first searches for the term “murryllc” came in early September of 2016, but
Mr. Brever did not inform members of the prosecution team that there was any Kovel
arrangement with Murry LLC until December 1, 2016. (DX 67.) The Court cannot
infer a deliberate effort to interfere with the attorney-client relationship based on


                                            49
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 50 of 94




these searches. The Court does not credit Mr. Adams’s argument that the prosecution
team should have known earlier that communications with Murry LLC were
potentially privileged because Mr. Adams had listed Mr. Brever as his representative in
a December 2014 Domestic Voluntary Disclosure to the IRS and a separate division
of the IRS became involved in the investigation of this criminal case in May 2015.
There is no suggestion in the record that these events alerted the prosecution team
that communications with Murry LLC were potentially covered by a Kovel agreement.
Because the government was not on notice of any privileged relationship with Murry
LLC in September of 2016, AUSA Maria looking for Murry LLC documents at that
time cannot form the basis of a claim that there was a deliberate intrusion on a known
attorney-client relationship.

       Second, even the searches that the prosecution team ran for “murry” and
“murryllc” after receiving Mr. Brever’s December 1, 2016 letter mentioning a Kovel
arrangement with the accounting firm did not occur under circumstances that
demonstrate a deliberate intrusion into an attorney-client relationship. Well before
Inspector Kroells searched for communications with “murry” or “murryllc” in April
of 2017, Mr. Brever himself had already disclosed several communications between
Mr. Adams and Murry LLC reversing an earlier assertion that they were privileged. See
discussion, supra, at p. 26–30 (describing several items Brever disclosed in response to
the grand jury subpoena); (Brever Decl. ¶ 14, Ex. F (letter dated December 20, 2016);
Gov’t’s Suppression Resp. at 70–73 (discussing disclosures made by Mr. Brever
without privilege assertions).) Inspector Kroells testified that she likely ran the April
2017 searches because she was attempting to pull documents that Mr. Brever had
disclosed from an alternative source. (See Jan. 8th Hr.’g Tr. 222:11–223:4.)

       Third, without deciding at this time whether any specific conversation between
Mr. Adams and Murry LLC satisfies the test of Kovel, the issue remains in dispute.
Although this Court concluded that “the communications between Mr. Adams,
Mr. Brever and Murry & Associates accountants were made in confidence and for the
purpose of obtaining legal advice,” and required Mr. Adams to provide a privilege log


                                            50
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 51 of 94




in a Report and Recommendation and Order dated March 12, 2018 (ECF No. 117 at
13–14), the landscape surrounding the issue has changed. The government now seeks
to challenge the application of privilege to the specific communications between
Murry LLC and Mr. Adams on the ground that even if some communications
between them could be covered by Kovel, the specific documents at issue in the
database are not. (Gov’t’s Mot. Contesting Application of Privilege, ECF No. 192.)
Though the Court has not yet ruled on the privileged status of any specific
communication, the content of at least some of the communications at issue supports
the reasonableness of the government’s belief that the emails were made so that the
accountant could prepare amended tax returns, not for the purpose of providing legal
advice, and that they are therefore not privileged. An October 27, 2014 email from
Mr. Murry to Mr. Brever, which copied Mr. Adams, indicated that the accountant
“would be happy to prepare any amended returns that are required,” and indicated
that Murry LLC would “get right on preparing the returns” once they received “all of
the necessary information.” (ECF No. 109-8.) Subsequent communications between
Mr. Adams and Murry LLC in which Mr. Adams provided information in response
Murry LLC’s questions also likely suggested to members of the prosecution team that
they were reviewing communications that were not being provided so Mr. Brever
could provide legal advice, but so that Murry LLC could prepare amended returns.
Finally, the reasonableness of the investigators’ conclusion that these documents were
not protected by any privilege is reinforced by the fact that Mr. Brever later withdrew
any claim of privilege for several of the documents when he was responding to the
grand jury subpoena that was served on Murry LLC.34




34
       The government also suggests that it was reasonable for the government to
have viewed Murry LLC communications because reviewers could reasonably have
believed that they were made to further a fraud scheme, thereby vitiating any claim of
privilege. (Gov’t’s Suppression Resp. at 78–84.) Because the Court has already found
that the government’s review of the Murry LLC documents was not outrageous for
other reasons, it does not address this issue.


                                          51
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 52 of 94




             g. Communications With Hartman

      Mr. Adams further suggests that the government deliberately invaded his
attorney-client relationship with Mr. Hartman of the Anthony Ostlund firm, and
points the Court to privileged communications that were viewed by the prosecution
team. (In Camera Exhibit U.) The Court does not find the government’s conduct
shocks the conscience. The government knew that Mr. Adams had been represented
by attorneys at Anthony Ostlund when it began reviewing the information in the
database. The prosecution team took affirmative steps to filter out any
communications with lawyers at that firm by using the domain name
“anthonyostlund” in its initial filter list. And before the prosecution team began
reviewing documents in the Relativity database, it knew that the “anthonyostlund”
filter term had excluded several emails from the database. (DX 15 at 1.)

      As noted above, Mr. Hartman used a different domain name with his email
address—“aoblaw.com”—causing some of his communications with Mr. Adams to
remain in the for-review database. There is no evidence that the government was
aware of this second domain name and deliberately chose to eliminate it from the
filter list. Nor is there any reason supported by the record that reviewers should have
known communications with an Anthony Ostlund lawyer would remain in the for-
review portion of the database. This is especially true given that the “anthonyostlund”
term had already filtered material from the database.

      The Relativity log related to In Camera Exhibit U causes the Court some
concern about the adequacy of the government’s subsequent efforts to ensure that
privileged material involving Mr. Hartman did not remain in the reviewable portion of
the database. After AUSA Maria encountered a relatively innocuous communication
between Mr. Hartman and Mr. Adams on May 24, 2016, there is no indication that he
attempted to tag the email as potentially privileged (as he had with the Hopeman
Memo) or removed it from the database. However, the Court notes that he also never
returned to any of the communications in In Camera Exhibit U.



                                           52
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 53 of 94




      Like Mr. Maria, Inspector Kroells viewed several of the emails in In Camera
Exhibit U, and she also did not follow up to ensure that these documents were
filtered out in subsequent rounds. The Relativity log further indicates that Inspector
Kroells spent enough time to read the contents of the few messages in which
Mr. Adams shared his thoughts about the substance of a potential lawsuit.
(See Relativity Log for In Camera Ex. U at 15 (40 second entry for Doc. ID 00051832;
12 second entry for Doc. ID 00051833; and 15 second entry for Doc. ID 00051841).)
One of the emails she reviewed includes a signature block clearly noting that
Mr. Hartman worked for the Anthony Ostlund firm (Doc. ID 00447156),35 and
although the others have no signature block, they include a standard disclaimer
mentioning his firm’s name.

      AUSA Maria’s and Inspector Kroells’s failures to flag these conversations with
Mr. Hartman as potentially privileged or add his name to the filter list for subsequent
rounds of privilege filtering is a notable shortcoming in the government’s efforts to
screen out potentially privileged communications. This conduct was sloppy and
should have been avoided. But the Court concludes that it was not outrageous or
shocking to the conscience given that: (1) the government attempted to remove
Mr. Adams’s communications with lawyers at Anthony Ostlund before it reviewed his
emails; (2) the prosecution team knew that emails were excluded pursuant to that
effort; and (3) the government was unaware that Mr. Hartman used an email address
associated with a different domain name. Moreover, when looked at in the context of
the government’s overall efforts to avoid privileged communications, their imperfect
handling of this discrete set of documents does not support a finding of outrageous
conduct.




35
       It is possible that Inspector Kroells did not notice Mr. Hartman’s signature
block or spend enough time with the email for it to register that was one of the firms
that had represented Mr. Adams in the past. The Relativity log indicates that
Inspector Kroells spent only 3 seconds with that message.

                                           53
         CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 54 of 94




            4. Prejudice

         Because the Court finds that the prosecution team did not engage in
outrageous conduct as needed to establish a Fifth Amendment violation in this
context, we do not need to decide whether Mr. Adams has demonstrated actual and
substantial prejudice in order to recommend denial of Mr. Adams’s motion.
Nevertheless, the Court concludes that Mr. Adams has failed to make a sufficient
demonstration of prejudice, which is an independent bar to the relief Mr. Adams
seeks.

         First, the government has represented that it “does not object to suppression
of the documents that span Exhibits A through U if the Court, after its in camera
review, concludes that they are indeed privileged and that the privilege has not been
waived.”36 (Gov’t’s Suppression Resp. at 88.) This indicates that the government has
no intention of offering any of Mr. Adams’s legitimately privileged communications
during its presentation to the jury, and the Court recommends, below, the suppression
of these communications and their exclusion from use at trial. That reality severely
undercuts Mr. Adams’s claims of actual and substantial prejudice because the jury will
not be making its determination on the merits of this case based on any privileged
communications with his attorneys. See United States v. Rogers, 751 F.2d 1074, 1079 (9th
Cir. 1985) (“We are satisfied that any prejudice to Rogers from the Miller disclosures
to Taylor, if these disclosures were improper, can be neutralized by the exclusion of
improperly obtained evidence at trial.”); see also United States v. Kriens, 270 F.3d 597,
603 (8th Cir. 2001) (“[E]ven assuming [defendant’s former attorney] disclosed
confidential communications [to the government], the proper remedy would be
suppression of the information.”) (citing Solomon, 679 F.2d at 1251–52, for the
proposition that “when government agents obtained information by means of a



36
      The Court reserves ruling on the application of privilege to any specific
communication until it decides the currently pending government motion contesting
the application of certain privileges.

                                             54
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 55 of 94




constitutional intrusion the proper remedy, absent a showing of prejudice, is exclusion
of the information not dismissal of the indictment”)).

       Second, the alleged intrusions into Mr. Adams’s attorney-client relationships
were generally quite brief and circumscribed. As such, members of the prosecution
team who were exposed to privileged information did not have sufficient opportunity
to become so familiar with the materials they viewed that those communications
would likely influence the government’s case against Mr. Adams during the
investigation or at trial. Given what is certainly a substantial volume of evidence being
marshaled by both sides in this litigation, the very limited contact with a known and
limited number of privileged documents cannot be said to unduly prejudice
Mr. Adams.

       Third, the alleged intrusions took place a significant time ago, and no member
of the prosecution team has looked at any of the privileged communications provided
to the Court in camera for over a year. This passage of time, coupled with the brief
exposure to the privileged material itself, suggests that even if it intended to, the
government is unable to use Mr. Adams’s communications with his attorneys to
develop its trial strategy against him. For example, Mr. Adams suggests that the review
of the Hopeman Memorandum (In Camera Exhibit J), exposed AUSA Maria and
Inspector Kroells to information that could potentially be used to anticipate how the
defense might cross-examine trial witnesses. However, the memo was written almost
four years ago, making its value for the purposes of deducing trial strategy somewhat
doubtful. It was seen by only one prosecutor, AUSA Maria, and he is no longer a
member of the prosecution team or the United States Attorney’s Office for the
District of Minnesota. There is no indication that any member of the prosecution
team other than Inspector Kroells ever reviewed the contents of that memo, making




                                            55
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 56 of 94




it highly doubtful under these circumstances, that Mr. Adams’s right to a fair trial is in
jeopardy.37

      Fourth, the Court finds that AUSA Maria’s and Inspector Kroells’s review of
the draft memo Mr. Adams sent to his SEC lawyers at Latham and Mr. Kopecky (In
Camera Ex. A) does not create actual and substantial prejudice to Mr. Adams.
Mr. Adams complains that the government obtained a window into his own thoughts
and analysis, to be shared with his attorneys, concerning the SEC’s assertions that he
made misrepresentations in connection with the Apollo/Scio transactions. However,
the Court has closely reviewed the draft memorandum in In Camera Exhibit A and
compared it to both the presentation Mr. Adams’s SEC lawyers made to the SEC and
Mr. Adams’s testimony during his deposition, both of which are validly and
independently in the hands of the government. That review demonstrates an almost
note-for-note correspondence, indicating that Mr. Adams largely disclosed many of
the same details he shared with his SEC attorneys outside of a privileged setting.
(Compare In Camera Ex. A with DX 50 at 230–82 and Gov’t’s Ex. 12 at 1–60, ECF
No. 173-10.)

      Fifth, to the extent Mr. Adams asserts that he would not have been charged
with certain criminal conduct absent intrusions into his privileged communications,


37
        Mr. Adams suggests that he is prejudiced by the government’s exposure to the
communication with Mr. Hartman because the civil suit with disgruntled
shareholders, Mack and Rapello, relates to the same subject matter as this
prosecution. However, having reviewed each of the communications in In Camera
Exhibit U, the Court notes that the vast majority of those emails discuss proposed
terms for an agreement to settle a lawsuit. The Court cannot discern any way in which
the prosecution team’s exposure to such information would deprive Mr. Adams of a
fair trial. Inspector Kroells only saw the more substantive discussion in Document
IDs 00051832, 00051833, and 00051841, for relatively short periods on May 31, 2016.
(Relativity Log for In Camera Ex. U at 15, 21.) The same reasons the Court finds no
prejudice with respect to the Hopeman Memorandum apply to these communications
as well.



                                            56
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 57 of 94




the Court is not persuaded. Mr. Adams first suggests that without viewing his
allegedly privileged communications with Murry LLC, the government would not
have developed tax charges against him. But the government persuasively represents
that the tax charges were forthcoming independent of any review of his emails. (See
Gov’t’s MTD Resp. at 22–23.) The government represents that its analysis of
Mr. Adams’s allegedly secret accounts at Venture Bank showed that he received a
substantial amount of money between 2008 and 2010, and “[b]y the time the Yahoo!
production had been received, an ex parte order had already been issued requiring the
disclosure of Mr. Adams’s tax returns.” (Gov’t’s MTD Resp. at 22.) After the
government received those returns in May 2016, the prosecution team determined
that Mr. Adams significantly underreported his income.38 (Gov’t’s MTD Resp. at 22–
23.) The government would have had access to Mr. Adams’s tax returns, both initial
and amended, directly from the IRS, and the basis for the tax allegations would have
been apparent from those documents and a comparison to the bank records the
government otherwise obtained. Further, the government’s tax counts concern
Mr. Adams’s allegedly fraudulent filing of amended returns for the tax years 2008,
2009, and 2010 in December of 2011, which occurred three years prior to his
communications with Murry LLC about filing additional amended returns in 2014.
This suggests that the tax charges are not the product of any review of allegedly
privileged material. Moreover, the Court’s own experience and consideration of
indictments from this District involving allegations of mail- and wire-fraud reveal that
charges related to tax crimes are so commonly found in fraud indictments as to
almost be the norm.

      In United States v. Kennedy, 225 F.3d 1187 (10th Cir. 2000), the defendant argued
that his conviction should be overturned because the record demonstrated the


38
       In addition to the Court’s conclusion that the government did not engage in
any outrageous conduct, the Court also disagrees with Mr. Adams’s assertion that, at a
minimum, the tax charges should be dismissed because the government built its tax
case against him based on review of privileged communications. (See Def.’s MTD
Mem. at 29.)

                                           57
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 58 of 94




government had significantly built its case off of his privileged information. Id. at
1196. The Tenth Circuit rejected this claim “after examining all of the information
Mr. Kennedy alleges the government discovered in violation of his attorney-client
relationship.” Id. The court concluded Mr. Kennedy was not entitled to an evidentiary
hearing on his claim despite his assertion that the government obtained the following
evidence through his attorney:

       1) a confidential attorney-client letter from his counsel which later
       surfaced in the prosecutor’s files; 2) a photocopy of the check used to
       discredit Mr. Korpi [a trial witness]; 3) the so-called “speculation” letter
       from Mr. Danley to Mr. Kennedy urging him to “stop speculating”;
       4) information concerning potential prosecution and defense witnesses;
       5) information that the prosecution had seized Western documents
       [from Mr. Kennedy’s business] considered most important to
       Mr. Kennedy’s defense team; 6) information concerning Mr. Kennedy’s
       plans to repay Western’s creditors; 7) information concerning a privately
       published novel about Mr. Kennedy which he alleges provided the
       prosecution with a “road map” for its case.

Id. at 1196 n.6. Mr. Adams likewise contends that the prosecution team received
significant information from privileged communications with his attorneys that
provides valuable insights, allowing the government to anticipate his defenses. Like
the Tenth Circuit in Kennedy, this Court has closely reviewed each of the in camera
documents that Mr. Adams has provided and concludes that he has not shown the
requisite prejudice “resulting from the alleged intrusions into his relationship[s] with”
his various attorneys. See id.

          5. Conclusion

       Mr. Adams has failed to make a showing that the circumstances of this case
involve outrageous conduct on the part of the prosecution team. He cannot
demonstrate the intentionality required to indicate that the government’s actions
could shock the conscience of the Court. Nor has he shown the existence of real
prejudice that cannot be otherwise remedied. Accordingly, he has failed to meet his
burden to establish that his Fifth Amendment right to due process was violated by the


                                            58
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 59 of 94




government’s pre-indictment intrusion into his privileged communications. His
motion to dismiss the indictment should therefore be denied.

       C. Supervisory Powers

       Mr. Adams also argues that the indictment should be dismissed under the
Court’s supervisory powers even if no constitutional violation occurred because the
government “may not use privileged communications in building its cases.” (Def.’s
MTD Mem. at 28.)

       Dismissal of an indictment under a district court’s supervisory powers is “a
drastic remedy” requiring a showing that the government engaged in “a systematic
and persistent abuse of power.” Solomon, 679 F.2d at 1253 n.12 (finding no “showing
of such a systematic and persistent abuse of power to support such a drastic remedy”
of dismissal) (citing United States v. Serubo, 604 F.2d 807 (3d Cir. 1979)). It is a “well-
settled proposition that the supervisory power still exists for ‘truly extreme cases.’”
United States v. Omni Int’l Corp., 634 F. Supp. 1414, 1437 (D. Md. 1986) (quoting United
States v. Broward, 594 F.2d 345, 351 (2d Cir. 1979)). Any such dismissal also requires a
showing of prejudice. Solomon, 679 F.2d at 1253 n.12.

       For all the reasons that the Court did not find outrageous conduct that would
warrant dismissal under the Fifth Amendment, the Court concludes that there has
been no showing of a systematic and persistent abuse of power in this case. The
government’s conduct in this case is not at all comparable to the actions of the
prosecutors in United States v. Marshank, 777 F. Supp. 1507, 1528-30 (N.D. Cal. 1991),
where Assistant United States Attorneys actively encouraged a defense attorney to
assist them in developing a case against one of his clients. The court in Marshank
found it necessary to exercise its supervisory power to dismiss the indictment to
protect the defendant’s constitutional rights, preserve judicial integrity, and deter
future prosecutorial misconduct. Id. at 1529. The drastic remedy Mr. Adams seeks
here is not required to achieve those ends. Nor has Mr. Adams demonstrated the
prejudice necessary to make dismissal of the indictment an appropriate remedy.


                                             59
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 60 of 94




Although the Court agrees that the government should be precluded from introducing
Mr. Adams’s privileged communications at trial, and recommends the issuance of an
order to that effect, Mr. Adams’s request for dismissal of the indictment under the
court’s supervisory power should be denied.

       D. Disqualification

       As an alternative to dismissal, Mr. Adams moves for the disqualification of the
entire prosecution team. If the Court finds that remedy inappropriate, he asks that the
Court disqualify AUSA Maria, Inspector Kroells, and Investigator Belich.39

          1. Legal standard

       The parties have not cited, and this Court has not located, any Supreme Court
or Eighth Circuit precedent cleanly articulating the standards applicable to a criminal
defendant’s request to disqualify a prosecution team or specific members of a
prosecution team. Nevertheless, several decisions guide the Court’s analysis of
Mr. Adams’s motion.

       Disqualifying government counsel “implicates separation of powers issues.”
United States v. Bolden, 353 F.3d 870, 879 (10th Cir. 2003). Though disqualification of
the entire United States Attorney’s Office for the District of Minnesota is not
requested here, such a disqualification order is rare and would only be provided
“where necessary.” See id. at 878 (reversing district court order disqualifying entire US
Attorney’s office and calling such relief “drastic”); United States v. Rehak, No. 08-cr-072


39
        Mr. Adams cites United States v. Agosto, 675 F.2d 965 (8th Cir. 1982), a case
which was later abrogated in part on other grounds, in support of the proposition that
a district court’s supervisory responsibilities for the members of its bar includes
disqualification of counsel in criminal cases. (Def.’s MTD Mem. at 29–30.) However,
Agosto provides little guidance given the circumstances here. It is not a case where a
prosecutor and investigators are alleged to have engaged in misconduct exposing
them to privileged information, thereby tainting the entire prosecution team; rather, it
is a case addressing the disqualification of defense counsel based on an alleged conflict
of interest.

                                            60
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 61 of 94




(PJS/SRN), 2008 WL 11434554, at *2 (D. Minn. June 5, 2008) (“The disqualification
of an entire United States Attorney’s office is a rare and drastic measure.”) (citing
Bolden, 353 F.3d at 878, and United States v. Radosh, 490 F.3d 682, 686 (8th Cir. 2007)).

       Any disqualification remedy must be measured by what is required under the
circumstances to ensure a fair trial. United States v. Koerber, No. 2:17-cr-37-RJS-PMW,
2017 WL 3172809, at *4 (D. Utah July 25, 2017) (“[T]he sanction of disqualification
of counsel should be measured by the facts of each particular case as they bear upon
the impact of counsel’s conduct upon the trial.”) (internal quotation marks and
alterations omitted); cf. United States v. Kehoe, 310 F.3d 579, 589–90 (8th Cir. 2002)
(concluding that disqualification of entire US Attorney’s Office was not required
where an attorney who worked for a defendant’s appointed counsel during pre-trial
proceedings was later hired by the US Attorney’s Office early in the case, but was
walled off from the case).

       One federal district court recently set forth the following standard for
disqualification of a prosecutor in a case involving alleged prosecutorial misconduct:

       The Court “may disqualify an attorney to prevent a lawyer’s presence
       from tainting a trial, for perceived conflict of interest, to protect the
       integrity of the judicial process, to enforce its rules against transgressors,
       or to maintain public confidence in the legal profession.” United States v.
       Kouri–Pérez, 992 F. Supp. 511, 511 (D.P.R. 1997) (Fusté, J.) (citing In re
       Bushkin Assocs., Inc., 864 F.2d 241, 246 (1st Cir. 1989)). The Court should
       only disqualify an attorney, however, “in the rare instance where other
       sanctions may not achieve the necessary effect.” Id. at 512.
       Disqualification should be “a measure of last resort.” Id. (quoting In re
       Grand Jury Proceedings, 859 F.2d 1021, 1026 (1st Cir. 1988)).

United States v. Pereira, 312 F. Supp. 3d 262, 275 (D.P.R. 2018) (denying defendant’s
motion to disqualify prosecutor); see also United States v. Whittaker, 268 F.3d 185, 194–
96 (3d Cir. 2001) (reversing district court’s order disqualifying the United States
Attorney’s Office for the Eastern District of Pennsylvania because the record
provided no evidence of bad faith and at most suggested negligence).



                                            61
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 62 of 94




       Another recent federal district court decision addresses a motion to disqualify
members of the prosecution team for, among other reasons, their exposure to
privileged information. Koerber, 2017 WL 3172809, at *3, 6. The Koerber decision
applies a test weighing: “[t]he egregiousness of the violation, the presence or absence
of prejudice to the other side, and whether and to what extent there has been a
diminution of effectiveness of counsel.” Id.

       In United States v. Horn, 811 F. Supp. 739 (D.N.H. 1992), rev’d in part on other
grounds, 29 F.3d 754 (1st Cir. 1994), a similar set of factors led to disqualification of a
lead prosecutor who made the deliberate decision to learn defense counsel’s trial
strategy by having an assistant make duplicate copies of any documents reviewed by
defense counsel. See id. at 741–42 (describing the prosecutor’s initial intrusion into
confidential work product of trial counsel for the defense). After the lead prosecutor
took affirmative steps to invade trial counsel’s confidential work product, she
exacerbated the problem with her subsequent actions after being put on notice that
the defendants would be filing a motion with the court, including reviewing again the
material at issue. Later, she disobeyed court orders respecting the handling of that
information during pre-trial proceedings. See id. at 748–51 (describing the
prosecutorial misconduct involved). The court in Horn declined to dismiss the
indictment for a Sixth Amendment violation, but disqualified the lead prosecutor
given her “serious misconduct.” Id. at 752. In fashioning a remedy the court noted:

       Important rights of the defendants have been trespassed upon by the
       lead prosecutor impairing their right to effective assistance of counsel
       and a fair trial; the lead prosecutor has not been candid with the court
       and failed to comply with an order of the court; the defendants have
       been put to unnecessary additional expense to defend themselves; the
       time and resources of the court have been unnecessarily expended on
       addressing this issue; and the integrity of the process has been damaged.

Id.

       The above authority all derives from the criminal context, which is important
to the Court’s analysis. It is difficult to derive much guidance from the civil cases on


                                             62
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 63 of 94




which Mr. Adams relies in his request for disqualification because the strong public
interest in prosecuting criminal conduct is not implicated in those decisions. (See
Def.’s MTD Mem. at 29–31 (citing Arnold v. Cargill, Inc., No. 01-cv-2086, 2004 WL
2203410 (D. Minn. Sept. 24, 2004), Shields v. Gen. Mills Inc., No. 16-cv-954, 2017 WL
6520685 (D. Minn. Dec. 1, 2017)). While courts considering disqualification of
counsel to protect privilege in civil litigation can afford that concept the highest
weight in their calculus, a court considering disqualification of prosecutors must also
weigh the defendant’s due process rights, the issue of separation of powers, and the
strong public interest in the prosecution of alleged crime. The Court has nevertheless
considered the disqualification rules set forth and applied in the cited civil cases as
instructive, though not controlling, in reaching its determination here.

          2. Analysis

       In light of the caselaw discussed above, the Court concludes that
disqualification of the current prosecution team is unwarranted,40 and the
disqualification of Mr. Maria, Inspector Kroells, and Investigator Belich is not
necessary to ensure that Mr. Adams receives a fair trial.

       The record establishes that the government did not access privileged
information through egregious conduct. There is no indication that the indictment
was procured through the use of privileged information, and there is no indication
that Mr. Adams’s extraordinarily able defense team will be unable to effectively
represent him at trial. See Koerber, 2017 WL 3172809, at *4 (considering
“egregiousness” of conduct, prejudice, and ability of counsel to provide effective


40
       Regarding the possibility that information within privileged material seen by
AUSA Maria and Inspector Kroells has tainted the other members of the prosecution
team, Mr. Adams requests a “Kastigar-like hearing to determine whether any remaining
members of the current prosecution were tainted as well.” (Def.’s MTD Mem. at 31
n.14 (citing Kastigar v. United States, 406 U.S. 441 (1972)). The Court finds no basis on
this record to hold a hearing to explore whether other members of the prosecution
team have been tainted by any privileged information.


                                            63
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 64 of 94




representation). As discussed at length above in the context of Mr. Adams’s Fifth
Amendment arguments, the Court has concluded that this is not a case in which the
government engaged in serious misconduct or purposefully intruded on Mr. Adams’s
attorney-client privilege. The government did not use Mr. Adams’s privileged
information to procure the indictment and did not seek out or access information
disclosing the trial strategy of the defense. The government has not failed to show
candor to the Court or disobeyed any Court orders. And, as also addressed above, the
exposure to privileged material that did occur did not result in prejudice to
Mr. Adams.

       Moreover, the Court notes that arguably the most culpable actor on the
government’s side, AUSA David Maria, is no longer in the United States Attorney’s
Office. Indeed, a largely reconstituted prosecution team was formed last fall to handle
the pretrial motions currently being addressed. And this Court recommends the
issuance of an Order prohibiting the government from using any privileged
communications at trial. The fact that Mr. Maria will not be involved in that trial
further prevents Mr. Adams’s privileged communications from inadvertently
informing trial strategy.

       For these reasons, the Court recommends that Mr. Adams’s requests for
(1) disqualification of the entire prosecution team; or (2) disqualification of Mr. Maria,
Inspector Kroells, and Investigator Belich be denied.

       E. Exclusion of Privileged Commuications

       Although the Court has found that no due process or Sixth Amendment
violation occurred in this case, the Court nonetheless recommends that the
government be prohibited from using at Mr. Adams’s upcoming trial any privileged
communications between himself and his attorneys. “It would be improper to
prosecute a defendant on the basis of facts wholly or partially acquired by the
prosecutor from the accused’s private attorney.” United States v. Kriens, 270 F.3d 597,
603 (8th Cir. 2001) (citing Gajewski v. United States, 321 F.2d 261, 267 (8th Cir. 1963)).


                                            64
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 65 of 94




The government has already properly asserted no objection to an Order suppressing
documents that span Exhibits A through U if the Court ultimately concludes that they
are privileged and the privilege has not been waived. (Gov’t’s Suppression Resp. at
88.) Accordingly, this Court will recommend that the District Court Order that no
such evidence be admitted at trial.

IV.   Motion to Suppress Evidence

      Mr. Adams asks the Court to suppress all of his emails and the fruits of their
seizure. First, he contends that the Yahoo! warrant itself failed to describe with
particularity the things to be seized in violation of his Fourth Amendment rights.
Second, he asserts that the Yahoo! warrant was overbroad because Inspector Kroells’s
affidavit only provided probable cause to seize evidence of the alleged fraud scheme
related to the 2011-2012 Apollo/Scio transaction, yet the warrant authorized seizure
of a broader scope of evidence. Third, he argues that the government’s execution of
the Yahoo! warrant was unreasonable under the Fourth Amendment and that the
government recklessly disregarded Federal Rule of Criminal Procedure 41. In support
of this third argument, he asserts that the government: (1) searched for emails outside
the scope of the warrant, (2) made unauthorized use of documents it reviewed;
(3) reviewed emails more than necessary to execute the warrant; (4) based its final
“seizure” of emails on search terms and “relevance” rather than on the terms of the
warrant; and (5) disregarded attorney-client privilege.

      A. Particularity

      The Fourth Amendment provides that “no Warrants shall issue … [unless]
particularly describing the place to be searched, and the persons or things to be seized.
U.S. Const., amend. IV. This requirement that a warrant describe particularly the
things to be seized exists to prevent “a general, exploratory rummaging in a person’s
belongings” because “[g]eneral warrants … are prohibited by the Fourth
Amendment.” Andresen v. Maryland, 427 U.S. 463, 480 (1976) (citing Coolidge v. New




                                           65
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 66 of 94




Hampshire, 403 U.S. 443, 467 (1971)); see also United States v. Nieman, 520 F.3d 834, 839
(8th Cir. 2008).

       Courts judge compliance with the particularity requirement according to “a
standard of practical accuracy rather than a hypertechnical one.” United States v. Fiorito,
640 F.3d 338, 346 (8th Cir. 2011) (internal quotation marks omitted). “The fourth
amendment requires that a search warrant’s description of the evidence to be seized
be ‘sufficiently definite so as to enable the officer with the warrant to reasonably
ascertain and identify the place to be searched and the objects to be seized.’” United
States v. Frederickson, 846 F.2d 517, 519 (8th Cir. 1988) (quoting United States v.
Muckenthaler, 584 F.2d 240, 245 (8th Cir.1978)). How specific a warrant must be varies
“depending on the circumstances and the type of items involved.” Frederickson, 846
F.3d at 519 (internal quotations omitted). As such, courts do not resolve issues
concerning particularity “in a vacuum. The court will base its determination on such
factors as the purpose for which the warrant was issued, the nature of the items to
which it is directed, and the total circumstances surrounding the case.” Fiorito, 640
F.3d at 346 (internal quotation marks omitted).

       Taking into account the Yahoo! warrant’s purpose, the items it authorizes the
government to seize, and the total circumstances of this case, the Court concludes
that the warrant satisfies the Fourth Amendment’s particularity requirement. The
warrant authorizes the government to seize “[a]ll information [in Mr. Adams’s email
account] that constitutes fruits, contraband, evidence and instrumentalities of
violations of [the mail and wire fraud statutes]” for a 10-year period. (DX 11,
Attach. B.) It further explains that the government could seize “[a]ll documents,
records, and communications related to financial, bookkeeping, transactional and tax
records reporting the business and financial transactions of ADI, ADGC, Private
Scio, Public Scio, Focus, and ESA during and for the calendar, fiscal, and federal tax
years 2010 to [January of 2016].” (Id.) But its illustrative list of things to be seized did
not end there. The warrant authorizes the government to obtain bookkeeping records
showing financial transactions conducted in and through Apollo’s and other


                                             66
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 67 of 94




businesses’ bank accounts and other financial accounts. It also authorizes the seizure
of records showing the income and expenses related to several business entities. (Id.)
Further, the government is authorized to seize documents regarding a March 2011
proxy statement for the Apollo companies, the Apollo/Scio asset purchase
agreement, a stock-repurchase program, and a private offering. (Id.) And finally, the
search warrant authorizes the seizure of all communications with Apollo and Scio
shareholders and prospective shareholders. (Id.) This list reasonably informs the
officers executing the warrant what items may be seized according to its terms.

       Mr. Adams contends that the warrant lacked the particularity required by the
Fourth Amendment because it “authorized the seizure of all emails that were evidence
of a scheme or artifice to defraud … occurring after October 25, 2006.” (Def.’s
Suppression Mem. at 33.) This argument lacks merit. Mr. Adams ignores the
illustrative list of communications, records, and other documents that the Yahoo!
warrant includes in Attachment B, an illustrative list that is sufficiently definite.
Frederickson, 846 F.2d at 519.

       The Eighth Circuit found that a similar authorization for the seizure of a broad
list of documents was sufficiently particular in Fiorito. There, the government was
investigating Mr. Fiorito, a mortgage broker, for mail fraud and conspiracy to commit
mail fraud in connection with an equity-stripping scheme. 640 F.3d at 343. “Fiorito’s
basic scheme was to convince financially desperate homeowners to refinance or sell
their homes to him and then clandestinely intercept their proceeds checks—
representing the equity realized in the sale or refinance—and deposit them into his
bank account.” Id. A law enforcement officer obtained a warrant to search
Mr. Fiorito’s “residence for incriminating documents.” Id. The warrant application
was supported “by an affidavit that alleged facts related to only one victim, Constance
Dang.” Id. at 344. The detective, however, obtained a warrant that authorized “a
search for [the] entire files involving Fiorito….” Id. at 346. On appeal, Mr. Fiorito
argued that the district erred in denying his motion to suppress evidence because the
search warrant lacked particularity, which the Eighth Circuit rejected, reasoning that


                                             67
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 68 of 94




Mr. Fiorito’s argument focused only on the broad entire-files phrase that appeared “at
the opening of an extensive list of specific documents sought….” Id. Instead, the
court explained that phrase needed to be read “in the context of the specific list that
follows.” Id. (citing Andresen, 427 U.S. at 480). The court further reasoned that the
warrant “did not authorize a blanket search of document for no particular purpose,
but rather for the purpose of discovering evidence of an ongoing, well-defined equity-
stripping scheme.” Id. at 347.

       Applying the reasoning of Fiorito, the warrant in this case satisfies the
particularity requirement. Like Mr. Fiorito, Mr. Adams’s argument reads a broad
introductory phrase out of context and elides the entire illustrative list of specific
documents the government was authorized to search for and seize.41 The purpose of
the Yahoo! search warrant was to discover evidence of a fraud scheme involving
misrepresentations to investors about a transaction to sell Apollo’s assets to Scio.
Those misrepresentations included failures to disclose Mr. Adams’s ownership
interest and position on the board of directors for Scio, Apollo’s significant
indebtedness to his law firm, and his law firm’s representation of the Apollo entities,
among others. To prove that the representations and failures to disclose were material
misrepresentations intended to defraud investors, and to show that they were in fact
untrue, it would be necessary for the government to establish, for example, that
Apollo had become indebted to Mr. Adams’s law firm. The government would also
need to obtain documentary evidence establishing Mr. Adams’s previous roles in the
Apollo companies to show that it was a material misrepresentation not to disclose
such involvement to the Public Scio investors. Considering the overarching purpose
of the search of his emails to obtain this and related information, and in light of the



41
        Mr. Adams’s suggestion that “[a] warrant authorizing a general search of
records for evidence of fraud occurring over a nearly ten-year period lacks
particularity on its face” and his assertion that the reference in the warrant “to the
mail and wire fraud statutes cannot save it” also depend upon his disregarding the
illustrative list of items to be seized. (See Def.’s Suppression Mem. at 33.)

                                            68
       CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 69 of 94




illustrative list of items to be seized, the Yahoo! search warrant was sufficiently
particularized.

       B. Overbreadth

       In an argument closely related to his particularity challenge, Mr. Adams asserts
that the Yahoo! warrant was overbroad on its face because the affidavit supporting
the warrant only laid out probable cause concerning the Apollo/Scio transaction, but
the warrant authorized a far broader seizure. He asserts that Inspector Kroells’s
affidavit “did not provide probable cause for the broad warrant that was issued….
Rather, it only provided probable cause to seize evidence of the alleged fraud scheme
related to the 2011–2012 asset purchase transactions” involving the Apollo and Scio
entities. (Def.’s Suppression Mem. at 34.) He continues, stating: “although the
affidavit may have supported probable cause to investigate the asset purchase
agreements and misrepresentations about them, it could not provide probable cause
to search for documents of all fraud over the nearly 10 year period included in the
warrant.” (Id.) In response, the government takes the position that “[t]he affidavit
here alleged a complex fraud scheme that involved the Apollo/Scio companies,
Mr. Adams’s various roles over time in those companies and other companies,
including Focus Capital and ESA Consulting, and the significance of the Apollo/Scio
transaction to that complex fraud scheme.” (Gov’t’s Resp. to Suppression Mem. at
17.)

       For a warrant to be sufficiently specific to satisfy the Fourth Amendment, it
must “clearly state what is sought” (i.e., particularity), and “the scope of the warrant
[must] be limited by the probable cause on which the warrant is based” (i.e., breadth).
In re Grand Jury Subpoenas Dated Dec. 10, 1987, 926 F.2d 847, 856–57 (9th Cir. 1991).
Here, the Court concludes that the warrant was not constitutionally overbroad.

       As noted above, the illustrative list in Attachment B authorized the seizure of
an array of documents relating to a complex wire-fraud scheme. Even a narrow
reading of the fraud scheme described in the affidavit supports a search for a wide


                                            69
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 70 of 94




array of information within the database, spanning many years. The alleged
misrepresentations constituting wire fraud related, for example, to Mr. Adams’s
various roles in the Apollo organization over the years. The affidavit indicated that he
made a material misrepresentation by failing to disclose to investors that he had held
various positions with Apollo. To prove the government’s accusation that Mr. Adams
held those positions and that it was criminally fraudulent to leave that information out
of a message to investors, it would be unworkable to limit the government’s search
and seizure to documents specifically discussing the 2011–2012 asset purchase
proposals. The government would necessarily have to review evidence from an earlier
period to prove Mr. Adams’s previous involvement, and indeed, the warrant
authorized the seizure of documents responsive to its terms back to October of 2006.

      Mr. Adams also allegedly defrauded investors by failing to disclose the fact that
his law firm previously represented the Apollo entities and was Apollo’s largest
creditor. For the government to piece together evidence that would demonstrate these
were criminally significant misrepresentations, the prosecution team would necessarily
have to gather evidence showing how Adams was involved in the Apollo companies
over the years preceding the asset purchase transactions. The government would
similarly be entitled to see evidence showing that Mr. Adams’s firm had represented
Apollo in the years prior to the Apollo/Scio transactions and that Apollo owed
Mr. Adams and his law firm more money than any of its other creditors. Moreover,
the government would need to uncover evidence to prove that Mr. Adams made the
misrepresentations with the intent to defraud investors. This authorization for the
seizure of documents showing intent could not realistically be limited to documents
solely and directly related to the Apollo/Scio asset purchase transaction. These
considerations appropriately expand the scope of the seizure authorized by the
warrant beyond the very narrow set of information advocated by Mr. Adams, but that
does not mean such authorization was untethered to probable cause.




                                           70
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 71 of 94




      The Supreme Court’s reasoning about the investigation of complex fraud
schemes supports the Court’s conclusion. In Adresen v. Maryland, the Supreme Court
made the following observations:

      Under investigation was a complex real estate scheme whose existence
      could be proved only by piecing together many bits of evidence. Like a
      jigsaw puzzle, the whole ‘picture’ of petitioner’s false-pretense scheme
      with respect to Lot 13T could be shown only by placing in the proper
      place the many pieces of evidence that, taken singly, would show
      comparatively little. The complexity of an illegal scheme may not be
      used as a shield to avoid detection when the State has demonstrated
      probable cause to believe that a crime has been committed and probable
      cause to believe that evidence of this crime is in the suspect’s possession.
427 U.S. at 480 n.10. This reasoning undermines Mr. Adams’s contention that the
probable cause in Inspector Kroells’s affidavit failed to authorize the scope of the
warrant actually issued in this case. That affidavit described a complex fraud scheme
that could be proved only by piecing together various pieces of evidence to show a
greater whole. The affidavit articulated probable cause to believe that the crime of
wire fraud had been committed, and Mr. Adams may not hide behind the complexity
of that alleged scheme to avoid detection of the various means the government claims
he used to commit such violations. See also United States v. Maali, 346 F. Supp. 2d 1226,
1240-41 (M.D. Fla. 2004) (rejecting defendants’ argument that search warrants were
unconstitutionally overbroad because investigators needed to piece together a “paper
puzzle,” and citing Andresen to support the conclusion that “at least in cases involving
fraudulent schemes where the proof of guilt involves the piecing together of
seemingly innocuous documents, some breadth and generality in warrant descriptions
have been tolerated”).42



42
      Mr. Adams’s position that the probable cause in Inspector Kroells’s affidavit
could only authorize a much narrower seizure of records than was permitted by the
Yahoo! warrant also informs a substantial portion of his argument that the
government’s execution of the warrant was unreasonable because the government



                                           71
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 72 of 94




       In support of his overbreadth argument, Mr. Adams cites In re Grand Jury
Proceedings, 716 F.2d 493 (8th Cir. 1983), but that case does not help him. There, the
Eighth Circuit held that law enforcement obtained what amounted to a general
warrant because the warrant authorized the seizure of “all records pertaining to
[Robert Young’s] bail bonding business,” but was “otherwise unlimited.” Id. at 497–
98. The affidavit at issue in In re Grand Jury Proceedings set forth probable cause that
Young had defrauded two surety companies that he had represented. As a result, the
warrant’s authorization for the seizure of every document that Young’s business
possessed simply went too far. See id.

       The Yahoo! warrant, by contrast, did not authorize the government to search
for and seize all of Mr. Adams’s emails without any limitation. Instead, Magistrate
Judge Rau found the Yahoo! warrant was supported by probable cause for a violation
of federal statutes prohibiting wire and mail fraud, and the warrant authorized the
seizure of emails and documents that are “narrowly tailored” to the crime Mr. Adams
is suspected of committing. Therefore, it is sufficiently limited in scope to make it
constitutionally permissible. See United States v. Dockter, 58 F.3d 1284, 1289 (8th Cir.
1995) (distinguishing In re Grand Jury Proceedings, 716 F.2d at 497–98, on grounds that it
“did not confine the search to specific types of documents for particular crimes ‘but
authorized the seizure of all documents in Young’s bail bond operations without any
enumeration or specificity’”).

       Accordingly, the Court concludes both that Mr. Adams reads the legitimate
scope of the warrant too narrowly and that the scope of the warrant was appropriately




allegedly searched for, reviewed, and seized documents that were beyond the
warrant’s scope. As explored in greater depth below, many of the same bases for the
Court’s conclusion that the warrant was not overbroad on its face also establish that
the execution of the warrant was not unreasonable.



                                             72
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 73 of 94




tied to the probable cause in Inspector Kroells’s affidavit. The Yahoo! warrant was
not unconstitutionally overbroad on its face.43

       C. Execution of the Search Warrant

       Mr. Adams next asserts that even if the Yahoo! warrant is valid on its face,
suppression of the information seized by the government from his email account is
required because the government’s execution of the warrant was unreasonable, thus
violating both the Fourth Amendment and the requirement of Federal Rule of
Criminal Procedure 41. For the reasons that follow, the Court disagrees.

           1. Legal Framework: Reasonableness

       “[I]t is generally left to the discretion of the executing officers to determine the
details of how best to proceed with the performance of a search authorized by
warrant.” Dalia v. United States, 441 U.S. 238, 257 (1979). “Although how best to
proceed in performing a search is generally left to the discretion of officers executing
a warrant, possession of a search warrant does not give the executing officers a license
to proceed in whatever manner suits their fancy. … The manner in which a warrant is
executed is always subject to judicial review to ensure that it does not traverse the
general Fourth Amendment proscription on unreasonableness.” Hummel-Jones v. Strope,
25 F.3d 647, 650 (8th Cir. 1994); see also United States v. Weinbender, 109 F.3d 1327,
1329–30 (8th Cir. 1997) (same). The “general touchstone of reasonableness” applies
equally in the context of executing a warrant permitting the search and seizure of
emails. See In the Matter of a Warrant for All Content and Other Information Associated with
the Email Account xxxxxxx@gmail.com Maintained at Premises Controlled by Google, Inc. (“In




43
        Because the Court finds the search warrant was facially constitutional in both
its particularity and breadth, it need not explore in depth the application of the good-
faith exception. Nonetheless, based on the same reasoning, the Court alternatively
holds that any deficiencies on the face of the warrant would not require suppression
of evidence under United States v. Leon, 468 U.S. 897, 926 (1984).

                                              73
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 74 of 94




re Gmail Account”), 33 F. Supp. 3d 386, 396 (S.D.N.Y. 2014), as amended (Aug. 7, 2014)
(citing United States v. Ramirez, 523 U.S. 65, 71 (1998) and Dalia, 441 U.S. at 258).

       The Supreme Court has noted the difficulties that arise when officers execute a
warrant “authorizing the search and seizure of a person’s papers that are not
necessarily present in executing a warrant to search for physical objects whose
relevance is more easily ascertainable.” Andresen v. Maryland, 427 U.S. 463, 481 n.11
(1976). Officers can make a cursory review of documents to determine if they are
“among those papers authorized to be seized,” which will inevitably cause “some
innocuous documents” to be reviewed. Id. However, this requires “responsible
officials” to “take care to assure that [a search of a person’s papers is] conducted in a
manner that minimizes unwarranted intrusions upon privacy.” Id.

       Ultimately, “[t]he Fourth Amendment does not demand perfection from law
enforcement officers; it only requires that their conduct be reasonable under the
totality of the circumstances.” Wright v. United States, 813 F.3d 689, 699 (8th Cir. 2015)
(concluding that detention of a plaintiff in a Bivens case by two deputies in the United
States Marshals was not an unreasonable seizure).

          2. Analysis: No Fourth Amendment Violation

       Against this legal backdrop, the Court concludes that although the
government’s execution of the search warrant could have been conducted more
cautiously, it did not rise to the level of a Fourth Amendment violation. Mr. Adams’s
arguments to the contrary are unpersuasive.

              a. Scope of the Warrant

       First, Mr. Adams argues that the government acted unreasonably because it
searched for emails outside the scope of the warrant. (Def.’s Suppression Mem. at 37–
40.) Mr. Adams notes that the indictment ultimately issued in this case alleges not only
that Mr. Adams made material misrepresentations to investors in connection with the
Apollo/Scio transaction (Inidct., Counts 1–14), but also accuses him of embezzling


                                            74
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 75 of 94




significant sums of money from Apollo as part of the scheme that allegedly preceded
the securities fraud by several years (id. ¶¶ 10–40). Specifically, Mr. Adams complains
that AUSA Maria, Inspector Kroells, and Agent Khan ran searches in the Relativity
database “designed to find documents relating to the alleged 2006–2009
embezzlement scheme, not discussed at all in the warrant,” and he takes issue with the
government’s use of search terms directed at allegedly secret accounts and the sale of
warrants (Def.’s Suppression Mem. at 38.) Mr. Adams also contends that the
government acted unreasonably because Inspector Kroells and AUSA Maria “ran
searches designed to find Mr. Adams’s personal tax returns and privileged
communications with his Kovel accountant.” (Def.’s Suppression Mem. at 38.) And
finally, he argues that the “prosecution team conducted finishing expeditions by
searching for general terms untethered to the warrant,” including several profane
terms and AUSA Maria’s own name. (Def.’s Suppression Mot. at 38.)

      The Court concludes that the government did not act unreasonably based on
its use of search terms in reviewing the Relativity database. Mr. Adams’s argument
suffers from the same flaw as his argument that the warrant was overbroad on its
face—he offers an unreasonably narrow reading of what the Yahoo! warrant
legitimately allowed the government to seize. As discussed above, the affidavit in
support of the search warrant demonstrated probable cause to believe that Mr. Adams
had made several misrepresentations to shareholders and prospective shareholders of
the Apollo and Scio entities in connection with the Apollo/Scio asset purchase
transactions; the proof of that alleged fraud required and the warrant permitted review
of a broader array of documents than he claims was appropriate. The Yahoo! warrant
specifically authorized the search and seizure of Mr. Adams’s emails for fruits,
contraband, evidence and instrumentalities of wire fraud, including documents,
records, and communications related to financial, bookkeeping, transactional and tax
records reporting the business and financial transaction of several companies related
to the Apollo and Scio entities. The warrant also authorized the search and seizure of
documents showing all financial transactions conducted in and through the business
and other financial accounts associated with those business entities as well as records

                                           75
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 76 of 94




showing the companies’ income and expenses. Further the warrant authorized the
search and seizure of all documents and records reflecting communications with
shareholders or prospective shareholders of the Apollo and Scio entities.44

      Mr. Adams’s reliance on United States v. Dallman, 13-03081-01-CR-S-MDH,
2016 WL 6123250 (W.D. Mo. Oct. 12, 2016), R&R adopted by, 2016 WL 6133849
(W.D. Mo. Oct. 19, 2016), is misplaced. In Dallman, a deputy of the United States
Marshal’s Service obtained a search warrant for Dallman’s residence based on
suspicion that Dallman had committed identity theft and had failed to register as a sex
offender after living in Missouri for over a year. 2016 WL 6123250, at *1–2. When the
deputy arrived at Dallman’s home, although the warrant did not include the search
and seizure of child pornography and no permission was sought to search for such
evidence, the officer inserted a thumb drive into Dallman’s computer which executed
a program that automatically searched for child pornography. Id. at *2. Based on the
use of this tool, the court concluded that “the search exceeded the scope of the
warrant from the beginning.” Id. at *4. The warrant authorized the search of
Dallman’s computer, but only for “items related to Defendant’s travel, residency, and
identity,” and the program on the thumb drive “immediately began searching for
items not related to travel or residency.” Id. As a result, the court suppressed video
evidence containing child pornography that was located in the search of Dallman’s
computer. Id. at *5.




44
       One of the subparts of the list of Particular Things To Be Seized in Attachment
B to the warrant authorizes the search and seizure of: “All documents, records, and
communications related to Private Scio, Public Scio, to include all such documents,
records, and communications regarding the ADI/ADGC proxy statement from
March 2011, the asset purchase agreement between ADI/ADGC and Private Scio,
the stock-repurchase program, and the private offering.” If the warrant only
authorized the government to search Mr. Adams’s email account for information
directly linked to the representations made in connection with the 2011-2012
Apollo/Scio transaction, it makes no sense that the warrant provided for the search
and seizure of significant additional categories of information beyond this specific list.

                                           76
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 77 of 94




      The unauthorized search in Dallman is quite unlike the keyword searches the
prosecution team performed in this case to find evidence of a complex fraud scheme.
In Dallman, there was absolutely no relationship between the suspected crimes of
failure to register and identity theft for which the warrant was authorized and the
deputy’s search for child pornography. Here, the government was investigating a
complex wire fraud scheme, the proof of which requires the government to assemble
numerous pieces of evidence into a coherent picture.

      Again, Mr. Adams’s position is undermined by the Supreme Court’s
recognition in Andresen that investigation of complex fraud schemes authorizes the
review of many pieces of information to put together a whole picture of the unlawful
conduct. 427 U.S. at 480 n.10. The search warrant in Andresen was to obtain
documents relating to a suspected crime of false pretenses in violation of the laws of
the State of Maryland. Andresen allegedly committed this offense by defrauding a
property purchaser, and that transaction was detailed in the probable cause statement
in the warrant. Specifically, Andresen was suspected of lying to the purchaser when he
represented that the lot was free of liens, when, in fact, he knew there were multiple
liens on the property. The Court ultimately concluded that it was not unreasonable for
the law enforcement officers executing a search warrant to seize information that
related to an entirely different lot because the trained investigators could reasonably
have believed that information relating to the other lot could be used to show
Andresen’s intent with respect to the specific transaction described in the warrant. Id.
at 483–84.

      Adopting Mr. Adams’s theory that the prosecution team acted unreasonably
here would require this Court to ignore the rationale underlying Andresen. The
prosecution team’s search terms in this case were reasonably calculated to locate
financial records, bookkeeping documents, communications with investors, account
information, and other similar documents that would help piece together the context
and circumstances relating to the misrepresentations that established probable cause
to believe he committed wire fraud. For example, the prosecution team’s searches for


                                           77
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 78 of 94




documents regarding RL Investments, DL Investments, and ADR Investments were
seeking accounts that would show income and expense information regarding the
business. Their searches for the alleged sale of warrants and for documents related to
Ms. Zipkin’s actions sought another piece in the paper puzzle showing the whole
picture of Mr. Adams’s suspected fraud scheme. The searches for several profane
terms were reasonably targeted toward communications that could be used show
Mr. Adams exhibited the requisite intent.45 And the government’s requirement to
prove that Mr. Adams acted with fraudulent intent during the Apollo/Scio
transactions permitted the prosecution team to look for evidence in earlier emails that
would demonstrate criminal intent and refute any claim of good faith.

      Mr. Adams also complains that the prosecution team unreasonably ran searches
and reviewed documents related to his personal tax records when the warrant
application contained no showing that Mr. Adams violated tax laws. (Def.’s
Suppression Mem. at 38, 39.) Here again, the Court concludes that information
relating to Adams’s personal tax returns falls within the scope of the warrant and it
was not unreasonable for the government to search for such information.
Mr. Adams’s personal tax return documents could reveal income Mr. Adams obtained

45
       Mr. Adams also argues that it was unreasonable for AUSA Maria to search for
his own name, which he did on June 27, 2016. (DX 79 at 7 (entry 239).) Mr. Adams
characterizes such a search as a “fishing expedition” and suggests that it is
“untethered” to the warrant. (Def.’s Suppression Mem. at 38.) But the record permits
perfectly reasonable inferences for AUSA Maria’s search. If Mr. Adams was aware
that he was the subject of an ongoing criminal investigation prior to January of 2016
(the end-point of the Yahoo! email production), and sent an email mentioning
Mr. Maria’s name, such a communication could demonstrate consciousness of guilt.
AUSA Maria’s search for his own name also occurred a little over a month after
Mr. Hopeman had argued in two letters that AUSA Maria’s previous employment at
Latham & Watkins created a conflict of interest, with which the government disagreed
given Mr. Maria’s stated lack of involvement in any representation of Mr. Adams.
This reality also supports a reasonable inference that the search for his own name may
have simply been to confirm that Mr. Maria had not communicated with Mr. Adams
during his pervious employment. In any case, the search simply cannot be read to
render the execution of the warrant unreasonable.

                                           78
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 79 of 94




from his work with or on behalf of Apollo and Scio, evidencing the reality that his
firm was a large creditor of Apollo. The search warrant and Agent Kroells’s affidavit
specifically discussed misrepresentations Mr. Adams made about his law firm’s role as
Apollo’s largest creditor. His personal tax returns would also provide information
about Apollo’s and Scio’s financial transactions, the seizure of which was specifically
authorized by the search warrant.

       Mr. Adams’s personal tax returns are also within the scope of the warrant
because they could be used as evidence to show that Mr. Adams had the requisite
intent to defraud and knowledge of a fraudulent scheme; if personal tax records
demonstrate a failure to report certain income, that may suggest that Mr. Adams knew
it was illegally obtained. Cf. United States v. Johnson, 262 F.R.D. 410, 415–16 (D. De.
2009) (granting the government’s motion in limine to admit evidence of the
defendant’s tax returns for certain years as intrinsic evidence of intent in a mail and
wire fraud case) (citing United States v. Epstein, 426 F.3d 431, 439 (1st Cir. 2005), as
follows: “holding that in a mail fraud, wire fraud, and conspiracy to commit mail and
wire fraud prosecution, the defendant’s tax return was intrinsic evidence because it
reported the income defendant had received from the fraudulent scheme, and it was
suggestive of defendant’s knowledge of the fraudulent scheme because not all income
was reported”).

       In sum, nothing about the search terms used by the government persuades the
Court that the government’s execution of the warrant was unreasonable. This is true
for both the search terms used during the many months of work in the Relativity
database and for those used in doing the final “sort” of the database’s contents on
April 4, 2017. If anything, given that almost all of the search terms are reasonably
designed to elicit evidence which the government could use to prove up the scheme
alleged in the affidavit, the use of those terms bolsters rather than undermines the
Court’s Fourth Amendment conclusion. Mr. Adams does not suggest that the Fourth
Amendment would have prohibited Inspector Kroells or AUSA Maria from reviewing
the entire Yahoo! production document-by-document. But searching the documents


                                             79
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 80 of 94




one-by-one to sort them into responsive and non-responsive piles would surely have
exposed the prosecution team to far more documents that, though interesting or even
perhaps incriminating, were not contemplated by the search warrant.

          3. “Unauthorized” Use of Documents

      Second, Mr. Adams contends that the government made unauthorized use of
documents it reviewed. (Def.’s Suppression Mem. at 40–43.) Specifically, Mr. Adams
asserts that members of the prosecution team: (1) looked for information in the
Relativity database to prepare for witness interviews, but used emails from outside the
scope of the warrant in conducting those interviews; and (2) sent Investigator Belich
documents that included Mr. Adams’s personal tax returns and privileged
communications with Murry LLC, leading to the investigation of tax charges. (Def.’s
Suppression Mem. at 41–42.)

      The Court is not persuaded by Mr. Adams’s complaint that the government
acted unreasonably because it used communications during witness interviews that it
did not ultimately claim to “seize” when it ran its final search terms. Mr. Adams cites
no applicable authority for the proposition that this would constitute a Fourth
Amendment violation, and the Court finds none. Cf. United States v. Lee, 1:14-cr-227-
TCB-2, 2015 WL 5667102, at *6, 14–15 (N.D. Ga. Sept. 25, 2015) (noting that the
FBI agent reviewed a Google email production, searched the database with keywords,
located documents with importance to the investigation, and used documents in
preparing other agents to conduct interviews and concluding that the execution of the
search warrant was reasonable).

      Moreover, for the purpose of this Court’s Fourth Amendment analysis, it is
treating the documents located by search terms between May of 2016 and April 4,
2017 that were printed or otherwise used in interviews as having been seized
regardless of whether they were in the “final cull” done by AUSA Maria at the end of
the search within the database. To hold otherwise would be to allow the government
to avoid Fourth Amendment scrutiny by working extensively within a database but


                                           80
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 81 of 94




not including all of the document upon which they relied during their investigation in
the final officially declared seizure. Despite this searching review, however, there is no
indication that the government used any documents to prepare for witness interviews
or otherwise that were actually beyond the scope of the warrant.

      In addition, providing tax-related documents to Investigator Belich was not
unreasonable under these circumstances. As the Court has noted above, the tax-
related materials were within the scope of the warrant, so there was nothing
“unauthorized” about having an IRS investigator review them to determine their
import to the investigation. Moreover, for the same reasons that the Court concluded
that the prosecution team’s handling of the Murry LLC documents submitted in
camera did not merit a finding of outrageous conduct, the Court also concludes that
the government did not act unreasonably for Fourth Amendment purposes. The
Court reiterates that the Murry LLC documents were originally shared with
Investigator Belich prior to Mr. Brever’s December 1, 2016 notification of any Kovel
arrangement, several of the communications between Mr. Adams and Murry LLC
suggest that they may have been intended for the non-privileged purpose of preparing
amended returns, and Mr. Brever later disclosed several of the communications at
issue without any claim of privilege in response to the grand jury subpoena to Murry
LLC. To the extent Mr. Adams argues that suppression is required by handling these
potentially privileged documents unreasonably, the Court disagrees.

          4. Cursory Review

      Third, Mr. Adams argues that the government reviewed emails more than was
necessary to execute the warrant because it did not limit itself to the merely “cursory”
review of documents to determine whether they fell within the scope of the warrant.
Mr. Adams similarly complains that the government returned to documents it had
previously reviewed as the case evolved. He contends that the government’s “repeated
inspection of documents exceeded what the government was authorized to do in
executing the warrant.” (Def.’s Suppression Mem. at 44.) The Court concludes that



                                           81
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 82 of 94




the length of time the government reviewed information in the Relativity database or
its return to documents it previously viewed was unreasonable.

      The Fourth Amendment allows government actors to return to a seized
database in a case like this repeatedly over time to review or collect responsive
documents. When executing a search warrant for a suspect’s emails, the government
“has a need to retain materials as an investigation unfolds for the purpose of
retrieving material that is authorized by the warrant.” In re Gmail Account, 33 F. Supp.
3d at 398. For this reason, a court may refuse to impose specific requirements ex ante
for how the government executes an email search and suppression of evidence is not
an appropriate remedy for an investigator’s return to certain emails multiple times as
her understanding evolves regarding whether the information fits within the scope of
the warrant. See id. at 398–99 (citing United States v. Lustyik, No. 2:12-cr-645-TC, 2014
WL 1494019, at *5 (D. Utah April 16, 2014)).

      The district court decision in Lustyik is particularly instructive. During the
government’s investigation of a fraud scheme for the procurement of government
contracts regarding logistics and weapons maintenance support in Afghanistan,
investigators reviewed emails of Mr. Taylor and discovered communications
suggesting that an FBI agent, Mr. Lustyik, was attempting to derail a potential
indictment of Taylor by having him treated as a confidential informant. See id. at *2
(describing discovery of communications); id. at *2 n.6 (discussing the FBI agent’s
suspected conduct of making Taylor an informant to foreclose indictment in
exchange for financial gain). Investigators obtained warrants to review the
communications between Taylor, the FBI agent, and a third co-conspirator, including
emails that third-party service providers produced to the government. Id. at *3–4. In
describing the execution of the warrant the court noted the following:

              [Law enforcement agents] did not cull the information down
      using key word searches because, in [a law enforcement agent’s]
      experience, people sometimes use coded language to hide illegal
      activities, and it is difficult at the beginning of an investigation to know
      about any coded language persons might be using. Without knowledge


                                           82
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 83 of 94




       of the coded language being used, it is often not feasible to use search
       terms to capture all files responsive to the warrants….
               The Government’s knowledge of the activity being investigated
       developed over time. As the Government learned new details, the
       Government would go back and conduct targeted searches in the
       Relativity database using search terms for additional documents
       responsive to the warrants. From time to time, and based on developing
       knowledge of the investigation, documents that were previously marked
       as irrelevant were re-reviewed and marked as relevant.

2014 WL 1494019, at *5; see also In re Gmail Account, 33 F. Supp. 3d at 398–99.

       In denying the defendants’ motions to suppress, the Lutsyik court rejected the
argument that the execution of the search warrant was unreasonable. Id. at *12–14.
Relying on Tenth Circuit precedent, the court began by noting that “‘a computer
search may be as extensive as reasonably required to locate the items described in the
warrant.’” Id. at *12 (quoting United States v. Grimmett, 439 F.3d 1263, 1270 (10th Cir.
2006)). The court reasoned that it was not improper for the government to open
every file to determine what was and was not relevant to the investigation, and cited
cases that suggest the challenges in tailoring searches of electronic data make adoption
of specific search plans difficult. Id. (citing United States v. Christie, 717 F.3d 1156, 1166
(10th Cir. 2013) (“Computer files can be misnamed by accident, disguised by
intention, or hidden altogether, leaving investigators at a loss to know ex ante what
sort of search will prove sufficient to ferret out the evidence they legitimately seek.”).
Further, the court found that “as the document review progressed, those executing
the warrants gained a better understanding of the illegal conduct at issue in the
warrants…. The additional targeted searches were a reasonable method for locating
additional documents responsive to the warrants.” Id. at *13 (citing United States v.
Burgess, 576 F.3d 1078, 1091 (10th Cir. 2009), for the proposition that “the process of
developing search methods is ‘dynamic’”).

       Adopting this analysis, the Court concludes that no Fourth Amendment
violation occurred in this case simply because the members of the prosecution team


                                              83
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 84 of 94




looked at some documents multiple times over the period that the Relativity database
was being searched. The record demonstrates that as the prosecution team reviewed
Mr. Adams’s emails they gained a better understanding of the fraud scheme they were
investigating. The realities of such an investigation may require dynamic methods of
searching an email production like the one at issue in this case, and the fact that such
methods may require an investigator to return to or even change her mind about a
document does not make the execution of a search warrant unreasonable.

          5. Attorney-Client Privilege

       Mr. Adams argues that the government’s disregard of his attorney-client
privilege also leads to a conclusion that the execution of the search warrant violated
the Fourth Amendment requiring suppression of the entire Yahoo! database. The
Court disagrees for three reasons. First, Mr. Adams has not cited any authority for the
premise that a violation of the evidentiary privilege protecting his attorney-client
communications would justify suppression under the Fourth Amendment of all the
emails and documents that surrounded the privileged materials. Cf. United States v.
Segal, 313 F. Supp. 2d 774, 780 (N.D. Ill. 2004) (rejecting a defendant’s argument that
the government should be barred from introducing at trial any evidence derived from
its violation of his attorney-client privilege as fruit of the poisonous tree because
“[t]he attorney-client privilege is an evidentiary privilege, not a constitutional right,”
and “[t]he violation of a defendant’s attorney-client privilege thus does not require the
suppression of derivative evidence”).

       Second, Mr. Adams’s reliance on cases that discuss the heightened concerns
raised by searches of law-office records in support of his assertion that the
government should have used a different protocol for executing the search warrant is
misplaced. (See Def.’s Suppression Mem. at 48–51.)46 For example, Mr. Adams relies
on Klitzman Klitzman & Gallagher v. Krut, 744 F.2d 955, 959–62 (3d Cir. 1984), a case in

46
       Mr. Adams also relies on Nat’l City Trading Corp. v. United States, 635 F.2d 1020
(2d Cir. 1980), and Michael D. Cohen v. United States, No. 18-mj-03161 (S.D.N.Y. Apr.
13, 2018). These cases likewise involve the government’s search of a law office.

                                             84
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 85 of 94




which the Third Circuit affirmed a district court order requiring the government to
return materials seized from a law firm, following the government’s indiscriminate
seizure of all of the firm’s working files. The Klitzman court explained that its “[m]ost
important” consideration was the effect of the seizure on third parties other than the
target of the search. Id. at 960. The court was concerned that the government’s
disregard of privilege “potentially or actually invaded the privacy of every client of the
Klitzman firm.” Id. at 961. The concern in a case like Klitzman is whether the
government’s actions interfere with the privilege belonging to a law firm’s clients who
had nothing to do with the underlying investigation. Here, the government was not
seizing every communication of Mr. Adams’s law firm, but his personal emails.
Klitzman says nothing about applying more elaborate protections against privilege
when looking at a lawyer’s personal communications. The government’s decision to
forego any search warrant for the Adams & Monahan law firm indicates that the
prosecution team was, indeed, concerned about avoiding privileged communications
between the clients of that firm and their lawyers. And the privilege which Mr. Adams
highlights as having been disregarded is his own, not that of third-party clients.

      Third, as described above, the government did not “disregard” the protection
of privileged communications between Mr. Adams and the attorneys that represented
him.47 They did not search for or seek to deliberately intrude on Mr. Adams’s
attorney-client relationships or try to review privileged communications to help better
develop their case. Instead, government took reasonable steps to exclude from the
information available to reviewers any communications between Mr. Adams and his
own attorneys. This included supplementing the list of filter terms that would remove
potentially privileged information from the reviewable database as the prosecution

47
       This also makes Mr. Adams’s analogy to Klitzman unpersuasive. There, the
court found that “[t]he government well knew, prior to the search, that the client files
contained privileged communications, yet the government took not one step to
minimize the extent of the search or to prevent the invasion of the clients’ privacy
guaranteed by the attorney-client privilege.” 744 F.2d at 961. Here, the same is not
true, as the government made efforts to protect Mr. Adams’s interest in the
confidentiality of his communications with his lawyers.

                                            85
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 86 of 94




team became aware of additional attorneys’ names. These efforts were imperfect and
privileged communications were encountered, but the government did not act
recklessly or with improper intent. Under these circumstances, the Court finds that
the government’s handling of privileged material does not support Mr. Adams’s
argument that suppression of the Yahoo! evidence is required by the Fourth
Amendment.

       For these reasons and the other observations made elsewhere in this report and
recommendation, the Court finds that the government’s handling of privileged
material was not unreasonable and that suppression is not an appropriate remedy.

          6. Rule 41

       Mr. Adams also relies on Rule 41 in support of his argument that the entire
Yahoo! database should be suppressed. Generally speaking, he argues that the
government recklessly disregarded the requirements of Rule 41 when it executed the
warrant because it: (1) developed no specific search plan to locate information among
Mr. Adams’s emails that was responsive to the warrant; (2) improperly based its final
“seizure” of emails on search terms and “relevance” rather than on the terms of the
warrant; (3) worked in the Relativity database for over a year as a “litigation database,”
even using documents that it ultimately claimed not to seize during witness interviews;
and (4) otherwise failed to fulfill its obligation to seize information pursuant to the
Rule’s two-step procedure for executing search warrants for electronic media. While
the government’s approach to executing the warrant in this case was certainly not
beyond criticism, the Court concludes that no blanket suppression remedy is required.

       The exclusionary rule is applied to violations of Rule 41 only where “a
defendant is prejudiced or reckless disregard of proper procedure is evident.” United
States v. Turner, 781 F.3d 374, 386–87 (8th Cir. 2015). “Reckless disregard” of Rule 41
requires a showing of bad faith. Id. at 387 (citing United States v. Berry, 113 F.3d 121
(8th Cir. 1997)). As to prejudice, “we ask whether the search would have occurred had




                                            86
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 87 of 94




the rule been followed. If so, there is no prejudice to the defendant.” Turner, 781 F.3d
at 387.

       Mr. Adams’s argument that Rule 41 requires suppression in this case does not
carry the day for several reasons. First, there is no showing that the government acted
in reckless disregard of proper procedure. The government obtained the full database
from Yahoo! and began to review it after trying to filter out potentially privileged
communications. The commentary to Rule 41 specifically observes that review of
large volumes of electronic information can take a significant amount of time, and the
rule declines to place any specific limit on how long that review can last. See Fed. R.
Crim. P. 41, advisory committee notes to 2009 amendments (rejecting a “presumptive
national or uniform time period within which any subsequent off-site … review of the
media or electronically stored information would take place”). Here, the government’s
review of the Yahoo! database certainly lasted a long time, and a swifter, more focused
review may have been preferable. But given the complexity of the case and the
government’s clear efforts to explore the database for information responsive to the
warrant, it cannot be said that the execution of the warrant reflected bad faith as
required for suppression for a Rule 41 violation. See Turner, 781 F.3d at 387 (rejecting
Rule 41 suppression claim where the defendant did not suggest that the government
acted in bad faith despite a significant number of Rule 41 violations); see also United
States v. Beckmann, 786 F.3d 672, 680–81 (8th Cir. 2015) (rejecting the defendant’s
argument that suppression was required for violations of Rule 41 because the
government did not demonstrate reckless disregard for proper procedure when it
failed to comply with a deadline for a warrant’s execution and delayed in returning the
warrant).

       Second, Mr. Adams is simply unable to establish that, absent the alleged
Rule 41 violations caused by the process employed in this case, the search which
occurred would not have happened, and therefore he cannot demonstrate prejudice.
See Turner, 781 F.3d at 387 (asking whether the search would have occurred if Rule 41
had been followed). There can be no question that the government would have


                                            87
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 88 of 94




conducted the searches and obtained the same information even had they adopted a
more conservative protocol. Indeed, it seems likely that the government would have
reviewed a far greater number of allegedly non-responsive documents and would
probably have seized many more if they reviewed every document individually during
a manual sort.

      Finally, the Court declines Mr. Adams’s implicit invitation to blend the analysis
of the Fourth Amendment and Rule 41 so that full technical compliance with the
procedural rule becomes a functional prerequisite to a finding that a search was
conducted with the reasonableness the Constitution requires. Although clearly related,
Mr. Adams has pointed to no authority that supports such a position. And, as
explored above, courts have instead found that suppression—an extreme but
important remedy for constitutional violations—should be rarely applied for
violations of many of Rule 41’s provisions. See Berry, 113 F.3d at 123 (concluding that
a night search conducted in technical violation of Rule 41’s requirement that a warrant
must be executed during the daytime, unless a judge expressly authorizes it, was not
conducted in bad faith because the circumstances suggested that the executing
officers believed that the applicant for the warrant had “sought and received authority
for a night search”). The rare circumstances justifying suppression for a Rule 41
violation are not present here.

V.    Motion to Dismiss Tax Counts or for a Bill of Particulars

       As noted above, when the government superseded the indictment in
December of 2017, it added counts 15–17, which allege that Mr. Adams committed
tax fraud by intentionally underreporting his income for 2008, 2009, and 2010. (First
Superseding Indict. ¶¶ 64–67.) The government incorporated all of the allegations
concerning Mr. Adams’s alleged fraud scheme into the tax-fraud allegations. (Id. ¶ 66.)
The government alleges that “during the course of his scheme to defraud,
[Mr. Adams] diverted large portions of investors’ funds to personal accounts
controlled by [Mr. Adams] for his personal use and benefit.” (Id. ¶ 64.) “In filing his
personal income tax returns with the [IRS, Mr. Adams] failed to disclose most of


                                           88
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 89 of 94




these funds on his tax returns and, accordingly, did not pay income tax on these
amounts.” (Id. ¶ 65.) Specifically, the government asserts that when he filed his tax
returns on or about December 29, 2011, Mr. Adams reported income of $674,763 in
2008, $581,795 in 2009, and $783,327 in 2010, but his taxable income exceeded those
amounts. (Id. ¶ 67 (chart listing Counts 15–17).) For these years, the government
asserts that Mr. Adams “did willfully make and subscribe false tax returns for the
years [2008–2010], which were verified by written declarations that they were made
under the penalty of perjury, and which the defendant did not believe to be true and
accurate as to every material matter[.]” (Id.)

       Mr. Adams argues that Counts 15–17 of the First Superseding Indictment must
be dismissed because they do not provide him sufficient notice of the conduct he
allegedly engaged in that subjects him to the charges. (See Def.’s Mot. to Dismiss Tax
Counts (“Def.’s Tax Mot.”), ECF No. 140.) He contends that the years 2008–2010,
“amounts of income Mr. Adams reported, the elements of the statute (26 U.S.C.
§ 7206(1)], and the general facts of the alleged conspiracy incorporated by reference,
are the only information the Indictment sets forth regarding these charges.” 48 (Id. at
1.) He also asserts that the indictment is flawed because it “does not even estimate the
amount by which Mr. Adams allegedly understated his income, or which ‘income’ he
purportedly misstated[.]” (Id.) Alternatively, he argues that the government should be
required to provide him with a bill of particulars with respect to these counts. (Id. at
2.)



48
       The statute prohibiting making and filing a false tax return prohibits “[w]illfully
mak[ing] and subscrib[ing] any return …, which contains or is verified by a written
declaration that it is made under the penalties of perjury, and which he does not
believe to be true and correct as to every material matter.” United States v. Fairchild, 819
F.3d 399, 406 (8th Cir. 2016) (quoting 26 U.S.C. § 7206(1)) (alterations in Fairchild).
“[T]he government must put forth evidence ‘that the document in question was false
as to a material matter, that the defendant did not believe the document to be true and
correct as to every material matter, and that he acted willfully with the specific intent
to violate the law.’” Id. (quoting Kawashima v. Holder, 565 U.S. 478, 483 (2012)).

                                            89
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 90 of 94




       A. Legal Standard

       An “indictment … must be a plain, concise, and definite written statement of
the essential facts constituting the offense charged. … For each count, the indictment
… must give the official or customary citation of the statute … the defendant is
alleged to have violated.” Fed. R. Crim. P. 7(c). “[A]n indictment is sufficient if it,
first, contains the elements of the offense charged and fairly informs a defendant of
the charge against which he must defend, and, second, enables him to plead an
acquittal or conviction in bar of future prosecutions for the same offense.” United
States v. Morris, 18 F.3d 562, 568 (8th Cir. 1994). “An indictment is normally sufficient
if its language tracks the statutory language,” United States v. Sewell, 513 F.3d 820, 821
(8th Cir. 2008), “as long as it is accompanied by a statement of the facts and
circumstances to adequately inform the accused of the specific offense,” United States
v. Hecker, No. 10-cr-32 (JNE/SRN), 2010 WL 3463393, at *8 (D. Minn. July 6, 2010)
(citing Hamling v. United States, 418 U.S. 87, 117 (1974)), R&R adopted in, 2010 WL
3463396 (D. Minn. Aug. 30, 2010). The indictment will be deemed sufficient “unless
no reasonable construction can be said to charge the offense.” Morris, 18 F.3d at 568
(internal quotations omitted).

       The Rules of Criminal Procedure also provide that “[t]he court may direct the
government to file a bill of particulars.” Fed. R. Crim. P. 7(f). The decision whether to
order a bill of particulars is left to the district court’s discretion. United States v. Maull,
806 F.2d 1340, 1345 (8th Cir. 1986). A bill of particulars is a “formal, detailed
statement of the claims or charges brought by a plaintiff or prosecutor.” United States
v. Urban, 404 F.3d 754, 771 (3d Cir. 2005) (quoting Black’s Law Dictionary 177 (8th
ed. 2004)). It is meant to both inform the defendant of the nature of the charge
against him so he may prepare for trial and to avoid or limit the risk of unfair surprise
at trial. United States v. Livingstone, 576 F.3d 881, 883 (8th Cir. 2009). “However, a bill
of particulars is not intended to supplement discovery or to provide for the
acquisition of evidentiary detail.” United States v. Afremov, 2007 WL 2475972, at *2 (D.




                                               90
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 91 of 94




Minn. Aug. 27, 2007) (citing United States v. Shepard, 462 F.3d 847, 860 (8th Cir. 2006)
and United States v. Matlock, 675 F.2d 981, 986 (8th Cir. 1982)).

       B. Application

       Applying the governing legal standard, the Court concludes that dismissal of
the tax counts is not required due to an alleged failure to put Mr. Adams on notice of
the charges against him. The indictment provides a citation to the statute Mr. Adams
is accused of violating, § 7206(1), tracks the language of the statute, and lists the
elements of the offense. The indictment also contains a statement of facts and
circumstances that adequately inform Mr. Adams of the specific offense alleged
against him. The paragraphs specifically related to the tax-fraud counts incorporate
the indictment’s allegations concerning Mr. Adams’s mail- and wire-fraud scheme.
That scheme alleges that Mr. Adams used secret bank accounts at Venture Bank to
divert Apollo investors’ funds for his personal use and benefit during the relevant
period. By this conduct, Mr. Adams allegedly “embezzled millions of dollars from
Apollo and its investors,” during the years in question. Read as a whole, the
indictment plainly informs Mr. Adams that he is accused in Counts 15–17 of failing to
report the income in excess of the identified amounts that he received in 2008, 2009,
and 2010 through this alleged embezzlement.

       Mr. Adams suggests that he is unable to defend himself because the indictment
does not specifically identify the additional amounts of income he received that he
allegedly failed to report during the years in question.49 It is noteworthy that the
government is not required to precisely prove at trial the true amount of income
Mr. Adams was required to report, but must prove that the amount reported was


49
       To the extent Mr. Adams seeks additional information about the evidence the
government will offer at trial to prove he committed tax fraud, a request for a bill of
particulars is not the appropriate vehicle. See United States v. Huggans, 650 F.3d 1210,
1220 (8th Cir. 2011) (“A bill of particulars is not a discovery device to be used to
require the government to provide a detailed disclosure of the evidence that it will
present at trial.”) (internal quotation marks omitted).

                                            91
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 92 of 94




wrong. Manual of Model Criminal Jury Instructions for the District Courts of the
Eighth Circuit § 6.26.7206 n.6 (citing United States v. Hedman, 630 F.2d 1184, 1196 (7th
Cir. 1980)). Moreover, the government represents that it provided Mr. Adams with
information from which the specific underreporting of income can be derived at a
reverse proffer session and through extensive disclosures provided more than a year
ago. (Gov’t’s Resp. to Def.’s Tax Mot. at 5–7, ECF No. 166.) These disclosures
provide Mr. Adams with the information sought in his motion for a bill of particulars
and allow him “to understand the nature of the charges, prepare a defense, and avoid
unfair surprise.” Huggans, 650 F.3d at 1220; Livingstone, 576 F.3d at 883 (affirming
denial of motion for bill of particulars where the district court concluded that “the
indictment and the government’s disclosures were sufficient to enable
Mr. Livingstone to understand the nature of the charges, prepare a defense, and avoid
unfair surprise”) (internal quotation marks omitted).

      Mr. Adams also contends that without a more precise indictment, he is exposed
to a double jeopardy risk. (Def.’s Tax Mot. at 4–5.) He argues that the government’s
tax-fraud allegations could evolve between the grand jury and trial without more
detailed information in the indictment and “without pinning down the actual amount
and source of allegedly unreported taxable income now, nothing would prevent the
government from re-indicting Mr. Adams for failure to disclose ‘other’ income
allegedly not disclosed during the same period.” (Id.) This argument is more
compelling, though it ultimately fails. In theory, the government could refuse to
specify the income a defendant failed to report when filing tax returns, run a trial
addressing the defendant’s alleged embezzlement income, end up with an acquittal,
and then try to run a second trial dealing with different income it alleges was
separately unreported. However, if the government brought the second prosecution
envisioned by that hypothetical, it would bear the burden of having previously
charged a vague and over-broad crime. Those fears are misplaced in Mr. Adams’s
case. Here, given that the government has provided additional detail to the defense,
including bank records showing how many transactions are at issue and when they
took place, and has shown the defense “spreadsheets that summarize the transactions

                                           92
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 93 of 94




from the bank accounts referenced in the superseding indictment,” (Gov’t’s Resp. to
Def.’s Tax Mot. at 5–6), there is little risk that it will be able to prosecute Mr. Adams a
second time for other unreported income. See United States v. Haynor, No. 1:09-cr-172,
2012 WL 5342410, at *4 (S.D. Ohio Oct. 29, 2012) (“The Court must conclude that
the indictment, now augmented by discovery and the Government’s impending
Jencks/Giglio and Rule 404(b) disclosures, is sufficient to apprise the Defendants of the
nature and basis of the charges, and to preclude a second prosecution against them
for the same offenses.”).

       For these reasons, the Court concludes that the indictment should not be
dismissed for failure to provide Mr. Adams sufficient notice of the tax charges against
him. Nor is a bill of particulars necessary to inform him of the nature of the charges
or to prevent any unfair surprise at trial.

                                RECOMMENDATION

       Based on the foregoing, IT IS HEREBY RECOMMENDED THAT:
       1. Defendant’s Motion to Suppress (ECF No. 36) be DENIED;

       2. Defendant’s Motion to Dismiss Counts 15–17 of the Superseding
          Indictment, or in the Alternative, for a Bill of Particulars (ECF No. 140) be
          DENIED;

       3. Defendant’s Motion to Dismiss the Superseding Indictment, or in the
          Alternative for Disqualification, for Privilege Violations (ECF No. 141) be
          DENIED; and

       4. That an Order be issued which prohibits the government from using at trial
          any documents submitted in In Camera Exhibits A through U that are
          ultimately deemed privileged.


 Date: September 17, 2018                          s/ Katherine Menendez
                                                   Katherine Menendez
                                                   United States Magistrate Judge



                                              93
      CASE 0:17-cr-00064-DWF-KMM Doc. 221 Filed 09/17/18 Page 94 of 94




                                      NOTICE
       Filing Objections: This Report and Recommendation is not an order or
judgment of the District Court and is therefore not appealable directly to the Eighth
Circuit Court of Appeals.

         Under Local Rule 72.2(b)(1), “a party may file and serve specific written
objections to a magistrate judge’s proposed finding and recommendations within 14
days after being served a copy” of the Report and Recommendation “unless the court sets
a different deadline.” (Emphasis added). The Court has previously ordered that
objections shall be filed on or before March 19, 2018 and that responses to those
objections shall be filed on or before March 26, 2018. All objections and responses
must comply with the word or line limits set for in LR 72.2(c).

        Under Advisement Date: This Report and Recommendation will be
considered under advisement 7 days from the date of its filing. If timely objections are
filed, this Report and Recommendation will be considered under advisement from the
earlier of: (1) 7 days after the objections are filed; or (2) from the date a timely
response is filed.




                                          94
